       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 1 of 86




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                         )   CIVIL ACTION
PRESIDENT, INC.; LAWRENCE                   )
ROBERTS; and                                )
DAVID JOHN HENRY;                           )
                                            )
             Plaintiffs,                    )
                                            )   No. 20-CV- ________________
       v.                                   )
                                            )
KATHY BOOCKVAR, in her capacity             )
as Secretary of the Commonwealth of         )
Pennsylvania; ALLEGHENY                     )
COUNTY BOARD OF ELECTIONS;                  )
CENTRE COUNTY BOARD OF                      )
ELECTIONS; CHESTER COUNTY                   )
BOARD OF ELECTIONS;                         )
DELAWARE COUNTY BOARD OF                    )
ELECTIONS; MONTGOMERY                       )
COUNTY BOARD OF ELECTIONS;                  )
NORTHAMPTON COUNTY BOARD                    )
OF ELECTIONS; and                           )
PHILADELPHIA COUNTY BOARD                   )
OF ELECTIONS;                               )
                                            )
             Defendants.



                     VERIFIED COMPLAINT
            FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs, by their undersigned counsel, hereby complain of Defendants as

follows:



                                      -1-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 2 of 86




                                 INTRODUCTION

       1.     American citizens deserve fair elections. Every legal – not illegal –

vote should be counted. And no government power, be it state or federal, may deny

American citizens the right to observe the process by which votes are cast, processed,

and tabulated. We must protect our democracy with complete transparency.

       2.     Nothing less than the integrity of the 2020 Presidential election is at

stake in this action. Defendants, the very officials charged with ensuring the

integrity of the election in Pennsylvania, have so mismanaged the election process

that no one – not the voters and not President Trump’s campaign – can have any

faith that their most sacred and basic rights under the United States Constitution are

being protected. The evidence is plain that Defendants have been and are blatantly

violating the protections and procedures, including those enacted by the

Pennsylvania General Assembly, vitally necessary to ensure that the votes of the

citizens of Pennsylvania are not illegally diluted by invalid ballots and that the

election is free and fair.

       3.     While the bedrock of American elections has been transparency, almost

every critical aspect of Pennsylvania’s November 3, 2020 General Election was

effectively shrouded in secrecy. Democrat-majority counties provided political

parties and candidates, including the Trump Campaign, no meaningful access or



                                         -2-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 3 of 86




actual opportunity to review and assess mail-in ballots during the pre-canvassing

meetings.

      4.     Allegheny and Philadelphia Counties alone received and processed

682,479 mail-in and absentee ballots without review by the political parties and

candidates. These are unprecedented numbers in Pennsylvania’s elections history.

Rather than engaging in an open and transparent process to give credibility to

Pennsylvania’s brand-new voting system, the processes were hidden during the

receipt, review, opening, and tabulation of those 682,479 votes in direct

contravention of the Election Code.

      5.     Allegheny and Pennsylvania counties conducted the canvassing and

tabulation in convention center rooms and placed observers far away from the action.

In the case of Philadelphia County, when an emergency order was issued requiring

them to provide meaningful access to representatives, Philadelphia failed to comply.

      6.     Worse, Democratic-heavy counties violated the mandates of the

Election Code and the determinations of the Pennsylvania Supreme Court,

advantaging voters in Democratic-heavy counties as compared to those in

Republican-heavy counties. Democratic-heavy counties engaged in pre-canvass

activities prior to November 3, 2020, by reviewing received mail-in ballots for

deficiencies, such as lacking the inner secrecy envelope or lacking a signature of the

elector on the outer declaration envelope. Those offending Counties then would

                                         -3-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 4 of 86




notify those voters in order to allow them to cure their ballot deficiencies by voting

provisionally on Election Day or cancelling their previously mailed ballot and

issuing a replacement. In other words, those counties provided their mail-in voters

with the opportunity to cure mail-in and absentee ballot deficiencies, while

Republican-heavy counties followed the law and did not provide a notice and cure

process, disenfranchising those that themselves complied with the Election Code to

case legal votes.

      7.     The commonality and statewide nature of these irregularities impacts

the elections.

      8.     “The right to vote is protected in more than the initial allocation of the

franchise. Equal protection applies as well to the manner of its exercise. Having

once granted the right to vote on equal terms, the State may not, by later arbitrary

and disparate treatment, value one person’s vote over that of another.” Bush v. Gore,

531 U.S. 98, 104-05 (2000). All citizens, including Pennsylvanians, have rights

under the United States Constitution to the full, free, and accurate elections built

upon transparency and verifiability. Citizens are entitled – and deserve – to vote in

a transparent system that is designed to protect against vote dilution.

      9.     As evidenced by numerous sworn statements, Defendants egregious

misconduct has included ignoring legislative mandates concerning mail-in ballots –

which amounted to over 2.6 million of the approximately 6.75 million votes in

                                         -4-
          Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 5 of 86




Pennsylvania – including the mandate that mail-in ballots be post-marked on or

before Election Day, and critically, preventing Plaintiff’s poll watchers from

observing the receipt, review, opening, and tabulation of mail-in ballots. Those

mail-in ballots are evaluated on an entirely parallel track to those ballots cast in

person.

      10.     On Election Day, when the Trump Campaign’s poll watchers were

present and allowed to observe in various polling locations throughout the

Commonwealth, they observed and reported numerous instances of election workers

failing to follow the statutory mandates relating to two critical requirements, among

other issues: (1) a voter’s right to spoil their mail-in ballot at their polling place on

election day and to then vote in-person, and (2) the ability for voters to vote

provisionally on election day when a mail-in ballot has already been received for

them, but when they did not cast those mail-in ballots.

      11.     Additionally, Plaintiffs have learned that certain County Election

Boards were mailing unsolicited mail-in ballots to voters despite the fact that they

had not applied for a mail-in ballot for the General Election, thus resulting in voters

who received two ballots. The offending counties also failed to undertake any effort

to ensure destruction of the duplicate ballots.

      12.     The right to vote includes not just the right to cast a ballot, but also the

right to have it fairly counted if it is legally cast. The right to vote is infringed if a

                                           -5-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 6 of 86




vote is cancelled or diluted by a fraudulent or illegal vote, including without

limitation when a single person votes multiple times. The Supreme Court of the

United States has made this clear in case after case. See, e.g., Gray v. Sanders, 372

U.S. 368, 380 (1963) (every vote must be “protected from the diluting effect of

illegal ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196 (2008)

(plurality op. of Stevens, J.) (“There is no question about the legitimacy or

importance of the State’s interest in counting only the votes of eligible voters.”);

accord Reynolds v. Sims, 377 U.S. 533, 554-55 & n.29 (1964). The disparate

treatment of Pennsylvania voters, in subjecting one class of voters to greater burdens

or scrutiny than another, violates Equal Protection guarantees because “the right of

suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote

just as effectively as by wholly prohibiting the free exercise of the franchise.”

Reynolds, 377 U.S. at 555.

      13.    In a rush to count mail ballots and ensure Democrat Joe Biden is

elected, Pennsylvania has created an illegal two-tiered voting system for the 2020

General Election, devaluing in-person votes. For voters that appeared at the polls,

those citizens were required to sign voter registrations, have those signatures

checked against voter rolls, vote in a polling place monitored by statutorily-

authorized poll observers, and have their votes counted in a transparent and

verifiable open and observed manner.           By contrast, due to the arbitrary,

                                         -6-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 7 of 86




unauthorized, and standardless actions of the Secretary of the Commonwealth of

Pennsylvania, Kathy Boockvar, nearly 2.65 million votes were cast through a “mail-

in” process that lacked all of the hallmarks of transparency and verifiability that were

present for in-person voters. In fact, Secretary Boockvar affirmatively excised

nearly every element of transparency and verifiability. Among other things, the

Secretary refused to require adequate verification of the voter’s identity. Rather than

require votes to be received on the day of election, the Secretary permitted ballots

received up to three days after the election to be counted without any evidence of

timely mailing, such as a postmark. Finally, contrary to the in-person voting that is

open and transparent to the parties and the candidates, Defendants permitted the

review and counting of mail-in ballots largely in secret with no monitoring.

      14.    Through the arbitrary and illegal actions of the Secretary, Pennsylvania

created a two-track system of voting resulting in voters being treated differently

depending on how they chose to exercise their franchise. The first, marked by voters

appearing personally at the polls complied with transparency and verifiability

requirements of Pennsylvania Election Code. The second, marked by a mass of paper

ballots received through the mail, was cloaked in darkness and complied with none

of those transparency and verifiability requirements. This two-track election system

not only violates Plaintiffs’ rights guaranteed by the United States Constitution, but



                                          -7-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 8 of 86




also violates the structure of the Constitution that elections in the States must be

carried out as directed by their respective legislatures.

      15.    Accordingly, Plaintiffs seek an emergency order prohibiting

Defendants from certifying the results of the General Election. In the alternative,

Plaintiffs seek an emergency order prohibiting Defendants from certifying any

results from the General Election that included the tabulation of absentee and mail-

in ballots which do not comply with the Election Code, including, without limitation,

the tabulation of absentee and mail-in ballots Trump Campaign’s watchers were

prevented from observing or based on the tabulation of invalidly cast absentee and

mail-in ballots which (i) lack a secrecy envelope, or contain on that envelope any

text, mark, or symbol which reveals the elector’s identity, political affiliation, or

candidate preference, (ii) do not include on the outside envelope a completed

declaration that is dated and signed by the elector, or (iii) are delivered in-person by

third parties for non-disabled voters. Lastly and in addition to the alternative

requests for relief, Plaintiffs seek a permanent injunction requiring the County

Election Boards to invalidate ballots cast by voters who were notified and given an

opportunity to cure their invalidly cast mail-in ballot.

                          JURISDICTION AND VENUE

      16.    Under 28 U.S.C. §§ 1331 & 1343, this Court has subject matter

jurisdiction because this action arises under the Constitution and laws of the United

                                          -8-
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 9 of 86




States and involves a federal election for President of the United States. “A

significant departure from the legislative scheme for appointing Presidential electors

presents a federal constitutional question.” Bush, 531 U.S. at 113 (Rehnquist, C.J.,

concurring); Smiley v. Holm, 285 U.S. 355, 365 (1932). Also, this Court has

supplemental jurisdiction over any state law claims under 28 U.S.C. § 1367.

      17.    Venue is proper because a substantial part of the events giving rise to

the claims occurred in this District, and certain of the Defendants reside in this

District and all of the Defendants are residents of the Commonwealth of

Pennsylvania in which this District is located. 28 U.S.C. § 1391(b) & (c).

                                     PARTIES

      18.    Plaintiff Donald J. Trump for President, Inc. (hereinafter, the “Trump

Campaign”), is the principal committee for the reelection campaign of Donald J.

Trump, the 45th President of the United States of America (hereinafter, “President

Trump”). President Trump is the Republican nominee for the office of the President

of the United States of America in the November 3, 2020 General Election. The

Trump Campaign brings this action for itself and on behalf of its candidate, President

Trump. As a political committee for a federal candidate, the Trump Campaign has

Article III standing to bring this action. See, e.g., Orloski v. Davis, 564 F. Supp.

526, 530-31 (M.D. Pa. 1983). See also Tex. Democratic Party v. Benkiser, 459 F.3d

582, 587-588 (5th Cir. 2006) (“[A]fter the primary election, a candidate steps into

                                         -9-
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 10 of 86




the shoes of his party, and their interests are identical.”); In re General Election-

1985, 531 A.2d 836, 838 (Pa. Commw. Ct. 1987) (A candidate for office in the

election at issue suffers a direct and substantial harm sufficient for standing to

contest the manner in which an election will be conducted).

      19.    Plaintiff David John Henry (hereinafter, “Mr. Henry”) is an adult

individual who is a qualified registered elector residing in West Hempfield

Township, Lancaster County, Pennsylvania. Mr. Henry constitutes a “qualified

elector” as that term is defined in Election Code Section 102(t), 25 P.S. § 2602(t).

Mr. Henry brings this suit in his capacity as a private citizen. As a qualified elector

and registered voter, Mr. Henry has Article III standing to bring this action. See

Orloski, 564 F. Supp. at 530; Pierce, 324 F. Supp. 2d at 692-93.

      20.    Plaintiff Lawrence Roberts (hereinafter, “Mr. Roberts”) is an adult

individual who is a qualified registered elector residing in Uniontown, Fayette

County, Pennsylvania. Mr. Roberts constitutes a “qualified elector” as that term is

defined in Election Code Section 102(t), 25 P.S. § 2602(t). Mr. Roberts brings this

suit in his capacity as a private citizen. As a qualified elector and registered voter,

Mr. Roberts has Article III standing to bring this action. See Orloski, 564 F. Supp.

at 530; Pierce, 324 F. Supp. 2d at 692-93.

      21.    Defendant Secretary Boockvar is the Secretary of the Commonwealth.

In this role, Secretary Boockvar leads the Pennsylvania Department of State. As

                                         - 10 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 11 of 86




Secretary, she is Pennsylvania’s Chief Elections Officer and a member of the

Governor’s Executive Board. The Pennsylvania Constitution vests no powers or

duties in Secretary Boockvar. Perzel v. Cortes, 870 A.2d 759, 764 (Pa. 2005).

Instead, her general powers and duties concerning elections are set forth in Election

Code Section 201, 25 P.S. § 2621. Under the Election Code, Secretary Boockvar

acts primarily in a ministerial capacity and has no power or authority to intrude upon

the province of the Pennsylvania General Assembly. Perzel, 870 A.2d at 764;

Hamilton v. Johnson, 141 A. 846, 847 (Pa. 1928). Secretary Boockvar is sued in her

official capacity.

      22.    Defendants Allegheny, Centre, Chester, Delaware, Philadelphia,

Montgomery, and Northampton County Board of Elections (collectively hereinafter,

the “County Election Boards”) are the county boards of elections in and for the

aforementioned counties of the Commonwealth of Pennsylvania as provided by

Election Code Section 301, 25 P.S. § 2641. The County Election Boards “have

jurisdiction over the conduct of primaries and elections in such count[ies], in

accordance with the provision of [the Election Code.]” Id. at § 2641(a). The County

Election Boards’ general powers and duties are set forth in Election Code Section

302, 25 P.S. § 2642. The County Election Boards are executive agencies that carry

out legislative mandates, and their duties concerning the conduct of elections are

purely ministerial with no exercise of discretion. Shroyer v. Thomas, 81 A.2d 435,

                                        - 11 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 12 of 86




437 (Pa. 1951); Perles v. Hoffman, 213 A.2d 781, 786 (Pa. 1965) (Cohen, J.,

concurring). See also Deer Creek Drainage Basin Authority v. County Bd. of

Elections, 381 A.2d 103, 109 (Pa. 1977) (Pomeroy, J., dissenting) (“A board of

elections, it has been well said, “does not sit as a quasi-judicial body adjudicating

contending forces as it wishes, but rather as an executive agency to carry out

legislative mandates. Its duties are ministerial only.”); In re Municipal

Reapportionment of Township of Haverford, 873 A.2d 821, 833, n.18 (Pa. Commw.

Ct. 2005) (“The duties of a board of elections under the Election Code are ministerial

and allow for no exercise of discretion.”), appeal denied 897 A.2d 462 (Pa. 2006).

                           FACTUAL ALLEGATIONS

I.    Federal Constitutional Protections for Free and Fair Public Elections.
      23.    Free, fair, and transparent public elections are crucial to democracy – a

government of the people, by the people, and for the people.

      24.    In statewide elections involving federal candidates, “a State’s

regulatory authority springs directly from the United States Constitution.” Project

Vote v. Kelly, 805 F. Supp. 2d 152, 174 (W.D. Pa. 2011) (citing Cook v. Gralike,

531 U.S. 510, 522-23 (2001); U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 805

(1995)).

      25.    The Elections Clause of the United States Constitution states that “[t]he

Times, Places, and Manner of holding Elections for Senators and Representatives,

                                        - 12 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 13 of 86




shall be prescribed in each State by the Legislature thereof.” U.S. Const. Art. I, § 4,

cl. 1 (emphasis added).      Likewise, the Electors Clause of the United States

Constitution states that “[e]ach State shall appoint, in such Manner as the Legislature

thereof may direct, a Number of Electors” for President. U.S. Const. Art. II, § 1, cl.

2 (emphasis added).

      26.    The Legislature is “‘the representative body which ma[kes] the laws of

the people.’” Smiley 285 U.S. 365. Regulations of congressional and presidential

elections, thus, “must be in accordance with the method which the state has

prescribed for legislative enactments.” Id. at 367; see also Ariz. State Legislature v.

Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

      27.    In Pennsylvania, the “legislature” is the General Assembly. Pa. Const.

Art. II, § 1. See also Winston v. Moore, 91 A. 520, 522 (Pa. 1914) (“The power to

regulate elections is legislative, and has always been exercised by the lawmaking

branch of the government.”); Patterson v. Barlow, 60 Pa. 54, 75 (1869) (“It is

admitted that the Constitution cannot execute itself, and that the power to regulate

elections is a legislative one, which has always been exercised by the General

Assembly since the foundation of the government.”).

      28.    Because the United States Constitution reserves for state legislatures

the power to set the time, place, and manner of holding elections for Congress and

the President, state executive officers, including but not limited to Secretary

                                         - 13 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 14 of 86




Boockvar, have no authority to unilaterally exercise that power, much less flout

existing legislation.

      29.    Nor can the authority to ignore existing legislation be delegated to an

executive officer. While the Elections Clause “was not adopted to diminish a State’s

authority to determine its own lawmaking processes,” Ariz. State Legislature, 135 S.

Ct. at 2677, it does hold states accountable to their chosen processes when it comes

to regulating federal elections.     Id. at 2668. A significant departure from the

legislative scheme for appointing Presidential electors presents a federal

constitutional question.” Bush, 531 U.S. at 113 (Rehnquist, J., concurring); Smiley,

285 U.S. at 365.

II.   Actual Observation by Watchers and Representatives Ensures Free and
      Fair Public Elections.
      30.    Elections in Pennsylvania are governed and regulated by the

Pennsylvania Election Code.         “Although the [Commonwealth] is ultimately

responsible for the conduct and organization of elections, the statutory scheme

[promulgated by the Election Code] delegates aspects of that responsibility to the

political parties. This delegation is a legislative recognition of ‘the critical role

played by political parties in the process of selecting and electing candidates for state

and national office.’” Tiryak v. Jordan, 472 F. Supp. 822, 823-24 (E.D. Pa. 1979)

(quoting Marchioro v. Chaney, 442 U.S. 191, 195 (1979)). “Pennsylvania’s election

laws apply equally to federal and state elections.” Project Vote, 805 F. Supp. 2d at
                                          - 14 -
         Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 15 of 86




174 (citing Kuznik v. Westmoreland County Board of Elections, 902 A.2d 476, 490-

93 (Pa. 2006)).

      31.     The United States Supreme Court has noted: “[S]unlight,” as has so

often been observed, “is the most powerful of all disinfectants.” N.Y. Times Co. v.

Sullivan, 376 U.S. 254, 305 (1964).

      32.     The Pennsylvania General Assembly understood that sentiment long

ago and intertwined the concept of watching with the act of voting, enshrining

transparency and accountability into the process in which Pennsylvanians choose

elected officials. After all, reasonable people cannot dispute that “openness of the

voting process helps prevent election fraud, voter intimidation, and various other

kinds of electoral evils.” PG Publishing Co. v. Aichele, 705 F.3d 91, 111 (3d Cir.

2013).

      33.     As long as Pennsylvania has had an Election Code, it has had watchers.

In 1937, the Pennsylvania General Assembly included the concept of “watchers” in

the then-newly enacted Pennsylvania Election Code, a statutory scheme addressing

the administration of elections in the Commonwealth. See 25 P.S. §§ 2600, et. seq.

      34.     As it exists today, Election Code Section 417, codified at 25 P.S. §

2687, creates the position of watcher and entrusts to each candidate for nomination

or election at any election, and each political party and each political body which



                                        - 15 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 16 of 86




has nominated candidates for such elections, the power to appoint watchers to serve

in each election district in the Commonwealth. See 25 P.S. § 2687(a).

      35.    Under the Election Code, “poll watcher[s] perform[] a dual function on

Election Day. On the one hand, because [watchers] are designated and paid by

[candidates, political parties, and/or political bodies], [their] job is to guard the

interests of [their] candidates [or political parties or bodies]. On the other hand,

because the exercise of [their] authority promotes a free and fair election, poll

watcher[s] serve to guard the integrity of the vote. Protecting the purity of the

electoral process is a state responsibility and [watchers’] statutory role in providing

that protection involves [them] in a public activity, regardless of [their] private

political motives.” Tiryak, 472 F. Supp. at 824.

      36.    Under Election Code Section 417(b), watchers may observe the

election process from the time the first polling place official appears in the morning

to open the polling place until the time the polls are closed and the election returns

are counted and posted at the polling place entrance. 25 P.S. § 2687(b). However,

until the polls close, only one watcher representing each political party and its

candidates at a general, municipal, or special election can be present in the polling

place outside the enclosed space from the time that the election officers meet to open

the polls and until the counting of the votes is complete. Id. See also Election Code

Section 1220, 25 P.S. § 3060(a) & (d). Once the polls close and while the ballots

                                         - 16 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 17 of 86




are being counted, then all the watchers for candidates and political parties or bodies

are permitted to be in the polling place outside the enclosed space. 25 P.S. § 2687(b).

      37.    In addition to the activities authorized by Election Code Section 417(b),

watchers are among those who are authorized under Election Code Section 1210(d),

25 P.S. § 3050(d), to challenge any person who presents himself or herself to vote

at a polling place on Election Day concerning the voter’s identity, continued

residence in the election district, or registration status. See 25 P.S. § 3050(d) (“any

person, although personally registered as an elector, may be challenged by any

qualified elector, election officer, overseer, or watcher at any primary or election as

to his identity, as to his continued residence in the election district or as to any

alleged violation of the provisions of section 1210 of this act, …”) (emphasis added).

      38.    Also, watchers are authorized under Election Code Section 1308(b), 25

P.S. § 3146.8(b), to be present when the envelopes containing absentee and mail-in

ballots are opened, counted, and recorded. 25 P.S. § 3146.8(b).

      39.    Moreover, watchers’ functions go beyond the activities authorized

under Election Code Sections 417(b) and 1210(d) on Election Day.

      40.    For example, under Election Code Section 310, 25 P.S. § 2650,

watchers appointed by parties, political bodies, or bodies of citizens may appear “at

any public session or sessions of the county board of elections,” and “at any

computation and canvassing of returns of any primary or election and recount of

                                         - 17 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 18 of 86




ballots or recanvass of voting machines,” in which case such poll watchers may

exercise the same rights as watchers at polling places and may raise objections to

any ballots or machines for subsequent resolution by the county board of elections

and appeal to the courts. 25 P.S. § 2650(a) & (c).

      41.    In addition to watchers, the Election Code permits “representatives” of

candidates and political parties to be involved in the pre-canvassing and canvassing

of absentee and mail-in ballots. See 25 P.S. § 3146.8(g)(1.1) & (2).

      42.    The Election Code also authorizes “representatives” of candidates and

political parties to be present when provisional ballots are examined to determine if

the individuals voting such ballots are entitled to vote at the election districts in the

election. See 25 P.S. § 3050(a.4)(4).

      43.    Election Code Section 417(b) provides that to be a watcher, a person

must be “a qualified registered elector of the county in which the election district for

which the watcher [is] appointed is located.” 25 P.S. § 2687(b).

      44.    Without watchers and representatives, the integrity of the vote in

elections is threatened and the constitutional right to free and fair public elections

under the United States Constitution is denied.

      45.    Watchers and representatives serve as an important check to ensure

transparency and guard against inconsistencies and other wrongdoing by election

officials. The need for watchers and representatives is demonstrated by the case of

                                          - 18 -
         Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 19 of 86




United States v. DeMuro, Criminal No. 20-112 (E.D. Pa. unsealed May 21, 2020).

In that case, a former Judge of Elections in South Philadelphia pled guilty to adding

fraudulent votes to the voting machines during Election Day – also known as

“ringing up” votes – and then falsely certifying that the voting machine results were

accurate for specific federal, state, and local Democratic candidates in the 2014,

2015, and 2016 primary elections. The scheme involved a political consultant who

purportedly solicited monetary payments from the candidates as “consulting fees,”

and then used portions of those funds to pay election board officials, including

DeMuro, in return for ringing up votes. DeMuro was able to commit the fraud

because there were no poll watchers at his precinct. See United States v. DeMuro,

Criminal No. 20-112, Information (Doc. #1) (E.D. Pa Mar. 03, 2020); M. Cavacini,

“U.S. Attorney William M. McSwain Announces Charges and Guilty Plea of

Former Philadelphia Judge of Elections Who Committed Election Fraud,” U.S.

Attys.         Office   –   Pa.,   Eastern       (May   21,   2020)    (available    at

https://www.justice.gov/usao-edpa/pr/us-attorney-william-m-mcswain-announces-

charges-and-guilty-plea-former-philadelphia.

         46.     The importance of watchers and representatives serving as an important

check in elections is recognized internationally. The International Institute for

Democracy and Electoral Assistance issued a publication in 2002 called the

International Electoral Standards: Guidelines for Review the Legal Framework of

                                             - 19 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 20 of 86




Elections. The purpose of the International IDEA standards is to be “used as

benchmarks to assess whether or not an election is free and fair.” International

Electoral Standards at v; see also id. at 6 (“These international standards are relevant

to each component, and necessary for the legal framework to be able to ensure

democratic elections. This publication is intended to identify electoral standards

which contribute to uniformity, reliability, consistency, accuracy and overall

professionalism in elections.”). The sources for the Standards include numerous

international Declarations, Charters, and Conventions, including many to which the

U.S. is a signatory. See id. at 7.

      47.     As it relates to ballot counting and tabulation, the Standards set out as

a general principle the following:

            A fair, honest and transparent vote count is a cornerstone of
            democratic elections. This requires that votes be counted,
            tabulated and consolidated in the presence of the
            representatives of parties and candidates and election
            observers, and that the entire process by which a winner is
            determined is fully and completely open to public scrutiny.

Standards, at 77.

      48.      “Regardless of whether ballots are counted at the polling station or at

a central counting location or at both places, the representatives of parties and

candidates and election observers should be permitted to remain present on this

occasion.” Id. at 78.


                                         - 20 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 21 of 86




      49.    “The legal framework for elections should clearly specify that the

representatives of parties and candidates and election observers be given, as far as

practicable, certified copies of tabulation and tally sheets.” Id. at 78. “As a

necessary safeguard of the integrity and transparency of the election, the legal

framework must contain a provision for representatives nominated by parties and

candidates contesting the election to observe all voting processes.” Id. at 83.

      50.    “[T]he representatives of parties and candidates should have the right

to immediately query decisions made by polling officials or the implementation of

voting procedures . . . .” Id. at 84. Per the Standards, representatives of parties and

candidates should be permitted “[t]o observe all activity – with the exception of the

marking of ballots by voters – within the polling station, from the check counting of

ballots and sealing of ballot boxes prior to the commencement of voting to the final

packaging of material after close of voting; [t]o challenge the right of any person to

vote; [and t]o query any decisions made by polling officials with the polling

station[,] committee president and election management officials.” Id. at 85. “The

legal framework must also be clear and precise concerning what a domestic observer

may not do, for instance, interfere with voting, take a direct part in the voting or

counting processes, or attempt to determine how a voter will vote or has voted. It

should strike a balance between the rights of observers and the orderly

administration of the election processes. But in no case should it hinder legitimate

                                         - 21 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 22 of 86




observation, ‘muzzle’ observers, or prevent them from reporting or releasing

information that has been obtained through their observations.” Id. at 90.

III.   The Perils of an Unmonitored Mail-In Voting System.
       51.   Failing to uphold and ensure the adherence to even basic transparency

measures or safeguards against the casting of illegal or unreliable ballots creates an

obvious opportunity for ineligible voters to cast ballots, results in fraud, and

undermines the public’s confidence in the integrity of elections — all of which

violate the fundamental right to vote, the guarantee of equal protection, and the right

to participate in free, fair, and transparent elections as guaranteed by the United

States Constitution.

       52.   If a state fails to follow even basic integrity and transparency measures

— especially its own — it violates the right to free, fair, and transparent public

elections because its elections are no longer meaningfully public and the State has

functionally denied its voters a fair election.

       53.    “[P]ublic confidence in the integrity of the electoral process has

independent significance, because it encourages citizen participation in the

democratic process.” Crawford, 553 U.S. at 195-96 (plurality op. of Stevens, J.).

As the Commission on Federal Election Reform – a bipartisan commission chaired

by former President Jimmy Carter and former Secretary of State James A. Baker III,

and cited extensively by the United States Supreme Court – observed, “the ‘electoral

                                          - 22 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 23 of 86




system cannot inspire public confidence if no safeguards exist to deter or detect fraud

or to confirm the identity of voters.’” Building Confidence in U.S. Election, Report

of the Commission on Federal Election Reform, p. 46 (Sept. 2005) (available at

https://bit.ly/3dXH7rU, and referred to and incorporated herein by reference)

(hereinafter, the “Carter-Baker Report”).

      54.    According to the Carter-Baker Report, mail-in voting is “the largest

source of potential voter fraud.” Carter-Baker Report, p. 46. Many well-regarded

commissions and groups of diverse political affiliation agree that “when election

fraud occurs, it usually arises from absentee ballots.” Michael T. Morley, Election

Emergency       Redlines,     p.    2     (Mar.     31,     2020)     (available     at

https://ssrn.com/abstract=3564829 or http://dx.doi.org/10.2139/ssrn.3564829, and

referred to and incorporated herein by reference) (hereinafter, “Morley, Redlines”).

Such fraud is easier to commit and harder to detect. As one federal court put it,

“absentee voting is to voting in person as a take-home exam is to a proctored one.”

Griffin v. Roupas, 385 F.3d 1128, 1131 (7th Cir. 2004). See also id. at 1130-31

(voting fraud is a “serious problem” and is “facilitated by absentee voting.”).

      55.    Courts have repeatedly found that mail-in ballots are particularly

susceptible to fraud. As Justice Stevens has noted, “flagrant examples of [voter]

fraud ... have been documented throughout this Nation’s history by respected

historians and journalists,” and “the risk of voter fraud” is “real” and “could affect

                                         - 23 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 24 of 86




the outcome of a close election.” Crawford, 553 U.S. at 195-96 (plurality op. of

Stevens, J.) (collecting examples). Similarly, Justice Souter observed that mail-in

voting is “less reliable” than in-person voting. Crawford, 553 U.S. at 212, n.4

(Souter, J., dissenting) (“‘[E]lection officials routinely reject absentee ballots on

suspicion of forgery.’”); id. at 225 (“[A]bsentee-ballot fraud . . . is a documented

problem in Indiana.”). See also Veasey v. Abbott, 830 F.3d 216, 239, 256 (5th Cir.

2016) (en banc) (“[M]ail-in ballot fraud is a significant threat” — so much so that

“the potential and reality of fraud is much greater in the mail-in ballot context than

with in-person voting.”). See also id. at 263 (“[M]ail-in voting . . . is far more

vulnerable to fraud.”); id. (recognizing “the far more prevalent issue of fraudulent

absentee ballots”).

      56.    Pennsylvania is not immune to mail-in ballot fraud. For example, in

1999, former Representative Austin J. Murphy was indicted by a Fayette County

grand jury and then convicted of absentee ballot fraud for forging absentee ballots

for residents of a nursing home and adding his wife as a write-in candidate for

township election judge. See B. Heltzel, “Six of seven charges against Austin

Murphy dismissed,” Pittsburgh Post-Gazette (June 22, 1999) (available at

http://old.post-gazette.com/regionstate/19990622murphy6.asp, and referred to and

incorporated herein by reference). Similarly, in 2014, Richard Allen Toney, the

former police chief of Harmar Township in Allegheny County pleaded guilty to

                                        - 24 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 25 of 86




illegally soliciting absentee ballots to benefit his wife and her running mate in the

2009 Democratic primary for town council. See T. Ove, “Ex-Harmar police chief

pleads guilty to ballot tampering,” Pittsburgh Post-Gazette (Sept. 26, 2014)

(available   at   https://www.post-gazette.com/local/north/2014/09/26/Ex-Harmar-

police-chief-pleads-guilty-to-ballot-tampering-Toney/stories/201409260172,       and

referred to and incorporated herein by reference).       Further, in 2015, Eugene

Gallagher pled guilty to unlawfully persuading residents and non-residents of Taylor

in Lackawanna County to register for absentee ballots and cast them for him during

his councilman candidacy in the November 2013 election. See J. Kohut, “Gallagher

resigns from Taylor council, pleads guilty to three charges,” The Times-Tribune

(Apr. 3, 2015) (available at https://www.thetimes-tribune.com/news/gallagher-

resigns-from-taylor-council-pleads-guilty-to-three-charges/article_e3d45edb-fe99-

525c-b3f9-a0fc2d86c92f.html, and referred to and incorporated herein by

reference). See also Commonwealth v. Bailey, 775 A.2d 881, 886 (Pa. Commw. Ct.

2001) (upholding defendant’s conviction for absentee ballot violations, holding that

a county district attorney has jurisdiction to prosecute such claims even in the

absence of an investigation and referral by the Bucks County elections board); In re

Center Township Democratic Party Supervisor Primary Election, 4 Pa . D. & C.4th

555, 557-563 (Pa. Ct. Com. Pl. Beaver 1989) (court ordered a run-off election after

evidence proved that fifteen absentee ballots were applied for and cast by non-

                                        - 25 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 26 of 86




existent individuals whose applications and ballots were handled by a political ally

of the purported winner).

      57.    As part of the November 3, 2020 General Election, there are at least

two Counties that had suspected instances of mail-in ballot fraud. Fayette County

experienced two different issues with their mail-in ballots leading up to Election

Day. First, an issue caused by Pennsylvania’s SURE software system as to the

marking of online applications submitted prior to the June primary election with the

“permanent mail-in” status caused some voters to receive duplicate ballots for the

general election. See https://www.wpxi.com/news/top-stories/election-officials-

working-correct-mail-in-ballot-problems-fayette

county/NH5DSEM7EVE7LGZLMAN4CS52YE/.                     Prior to November 3, 2020,

Fayette County uncovered an incident involving two voters who received mail-in

ballots that were already filled out and two ballots that were found at the election

bureau already opened with the secrecy envelope and the ballot missing out of those

envelopes. Ballots that were already filled out arrived at homes 40 miles apart. See

https://www.wtae.com/article/fayette-co-prosecutors-investigating-reports-of-

voters-receiving-mail-in-ballots-already-filled-out/34527256. In late September

2020, officials in Luzerne County discovered that a temporary seasonal elections

worker had discarded into a trash bin nine (9) military ballots received in unmarked

envelopes,   7   of   which    were    all      cast   for   President   Trump.   See

                                       - 26 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 27 of 86




https://www.wgal.com/article/federal-authorities-investigate-discarded-ballots-in-

luzerne-county-pennsylvania/34162209#.

      58.     This risk of abuse by absentee or mail-in voting is magnified by the fact

that “many states’ voter registration databases are outdated or inaccurate.” Morley,

Redlines, p. 2. A 2012 study from the Pew Center on the States – which the U.S.

Supreme Court cited in a recent case - found that “[a]pproximately 24 million – one

of every eight – voter registrations in the United States are no longer valid or are

significantly inaccurate”; “[m]ore than 1.8 million deceased individuals are listed as

voters”; and “[a]pproximately 2.75 million people have registrations in more than

one state.”    See Pew Center on the States, Election Initiatives Issue Brief,

“Inaccurate, Costly, and Inefficient: Evidence That America’s Voter Registration

System        Needs     an      Upgrade,”         (Feb.   2012)      (available      at

https://www.issuelab.org/resources/13005/13005.pdf,        and    referred   to    and

incorporated herein by reference) (cited in Husted v. A. Philip Randolph Inst., 138

S. Ct. 1833, 1838 (U.S. 2018)).

      59.     Crucially as it pertains to Pennsylvania’s registered voters, as recently

as December 2019, the Auditor General of Pennsylvania, Eugene DePasquale,

determined through an audit of Pennsylvania’s Statewide Uniform Registry of

Electors (“SURE”), administered by the Department of State, that there are more

than 50,000 cases of potentially inaccurate voter records. The Performance Audit

                                         - 27 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 28 of 86




Report noted that the audit “found too many instances of potentially bad data and

sloppy recordkeeping.”       See https://www.paauditor.gov/press-releases/auditor-

general-depasquale-issues-audit-of-voter-registration-system-calls-for-changes-at-

pennsylvania-department-of-state;          https://www.paauditor.gov/Media/Default/

Reports/Department%20of%20State_SURE%20Audit%20Report%2012-19-

19.pdf. The Department of State was provided 50 recommendations to strengthen

their policies and management controls, one of which was to work with counties to

resolve records management issues such a duplicative voter records. See id. Mr.

DePasquale criticized the Pennsylvania Department of State for its “lack of

cooperation and a failure to provide the necessary information” during the audit,

including the “denial of access to critical documents and excessive redaction of

documentation.” Id. As a result, the Auditor General was “unable to establish with

any degrees of reasonable assurance that the SURE system is secure and that

Pennsylvania voter registration records are complete, accurate and in compliance

with applicable laws, regulations, and related guidelines.” Id.

      60.    Because of its inherent risk, absentee and mail-in voting is an election

process that requires adequate procedural safeguards to deter fraud and ensure

transparency.

      61.    One procedural safeguard that any absentee or mail-in ballot voting

system must have is the ability of candidates, political parties, and the public at large

                                          - 28 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 29 of 86




to engage in meaningful, effective, and actual observation of the inspection, opening,

counting, and recording of absentee and mail-in ballots in order to ensure that the

election officers are uniformly applying the same rules and procedures to all

absentee and mail-in voters and that only legitimately cast votes are counted and

recorded.

IV.   Pennsylvania Enacts All-Voter Mail-in Voting.
      62.    The Pennsylvania General Assembly may enact laws governing the

conduct of elections. Winston, 91 A. at 522. However, no legislative enactment

may contravene the United States Constitution. U.S. CONST. art. VI; Shankey v.

Staisey, 257 A. 2d 897, 898 (Pa.), cert. denied 396 U.S. 1038 (1970).

      63.    “Prior to the year 1957, the Pennsylvania Constitution permitted

absentee voting only by individuals engaged in actual military service (Art. 8, § 6 of

the Pennsylvania Constitution (1874)), and by bedridden or hospitalized veterans

(Art. 8, § 18 added to the Pennsylvania Constitution (1949)).” Absentee Ballots

Case, 224 A.2d 197, 199 (Pa. 1966).

      64.    In 1957, the Pennsylvania Constitution was further amended to permit

absentee voting for those “qualified electors who may, on the occurrence of any

election, be absent from the municipality of their residence, because their duties,

occupation or business require them to be elsewhere or who, on the occurrence of

any election, are unable to attend at their proper polling places because of illness or

                                         - 29 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 30 of 86




physical disability or who will not attend a polling place because of the observance

of a religious holiday or who cannot vote because of election day duties, in the case

of a county employee[.]” Pa. Const. art. VII, § 14.

      65.    In 1960, the Election Code was amended to implement the 1957

amendment to the Pennsylvania Constitution. Absentee Ballots Case, 224 A.2d at

200. See also The Act of January 8, 1960, entitled “An Act amending the Act of

June 3, 1937,” P.L. 2135, 25 P.S. §§ 3149.1-3149.9 (Supp. 1960).

      66.    “Absentee voting has consistently been regarded by the Pennsylvania

courts as an extraordinary procedure in which the safeguards of the ordinary election

process are absent.” Canvass of Absentee Ballots of April 28, 1964, Primary

Election, 34 Pa. D. & C.2d 419, 420 (Pa. Ct. Com. Pl. Phila. 1964).

      67.    Specifically, “in the casting of an absentee ballot, the ordinary

safeguards of a confrontation of the voter by the election officials and watchers for

the respective parties and candidates at the polling place are absent.” Canvass of

Absentee Ballots of April 28, 1964, Primary Election, 34 Pa. D. & C.2d at 420.

      68.    Because “it is fraught with evils and frequently results in void votes,”

Pennsylvania’s laws regarding absentee voting are “strictly construed and the rights

created thereunder not extended beyond the plain and obvious intention of the act.”

Canvass of Absentee Ballots of April 28, 1964, Primary Election, 34 Pa. D. & C.2d

at 420-21 (citing Decision of County Board of Elections, 29 D.&C.2d 499, 506-7

                                        - 30 -
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 31 of 86




(Pa. Ct. Com. Pl. 1962)). See also Marks v. Stinson, Civ. A. No. 93-6157, 1994 U.S.

Dist. LEXIS 5273, at *78 (E.D. Pa. Apr. 26, 1994).

        69.   Moreover, consistent with Pennsylvania’s Statutory Construction Act,

the Election Code’s use of the word “shall” to identify the manner and other

“technicalities” that an elector must follow to cast an absentee ballot are “substantive

provisions” that are necessary to “safeguard against fraud” and preserve the “secrecy

and the sanctity of the ballot and must therefore be observed,” and ballots cast “in

contravention of [such] mandatory provision[s] are void.” In re Canvass of Absentee

Ballots of Nov. 4, 2003 Gen. Election, 843 A.2d 1223, 1231-34 (Pa. 2004).

        70.   On October 31, 2019, the Pennsylvania General Assembly enacted Act

77. See Act 2019-77 (S.B. 421), § 8, approved October 31, 2019, eff. October 31,

2019.

        71.   Act 77 fundamentally changed the administration of elections in the

Commonwealth of Pennsylvania in that, for the first time in its history, qualified

Pennsylvania electors now have the choice to vote by mail, rather than in person on

Election Day, without providing a reason or excuse. See, e.g., 25 P.S. §§ 3150.11-

3150.17; see also Pa. Dem. Party v. Boockvar, Case No. 133 MM 2020, 2020 Pa.

LEXIS 4872, at * 1 (Pa. Sept. 27, 2020). Previously, the law offered electors who

could not vote in person on the designated Election Day the ability to apply for and

receive an absentee ballot, verifying they qualified based on a limited number of

                                         - 31 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 32 of 86




excuses outlined in the statute. Pennsylvania held its first election under Act 77’s

no excuse mail-in ballot scheme during the Primary Election held on June 2, 2020.

The November 3, 2020 election was the first General Election in Pennsylvania under

the state’s new mail-in voting scheme.

      72.     Mail-in ballots are not automatically sent to electors in Pennsylvania.

The Election Code requires that a person applying for both an absentee and a mail-

in ballot complete a form with various information and sign the application. See 25

P.S. § 3146.2(a)–(e); (the absentee ballot application “shall be signed by the

applicant”); 25 P.S. § 3150.12(a)–(d); 25 P.S. § 3146.2(d) (except has not relevant

here, “the application [for a mail-in ballot] shall be signed by the applicant.”). The

only exception to the signature requirement is for military, overseas and disabled

voters. Id.

      73.     Other than the signature requirement, there is no other proof of

identification required to be submitted with the ballot applications. See generally 25

P.S. § 3146.2; 25 P.S. § 3150.12. When those ballots are being reviewed for

approval, the board of elections is required to both (i) compare the information

provided on the application with the information contained on the voter’s permanent

card and (ii) verify the proof of identification. See 25 P.S. § 3146.2b(c); 25 P.S. §

3150.12b(a). The board of elections’ signature verification on the application is the

only means available to it to verify the identity of the voter.

                                         - 32 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 33 of 86




      74.    For both absentee and mail-in voting, Act 77 retains the requirement

that “the [non-disabled] elector shall send [his or her absentee or mail-in ballot] by

mail, postage, except where franked, or deliver it in person to [the] county board of

elections,” in order for the ballot to be properly cast under Act 77. 25 P.S. §§

3146.6(a) & 3150.16(a). Accordingly, as it did prior to the enactment of Act 77, the

Election Code bars ballot harvesting of absentee and mail-in ballots cast by non-

disabled voters. See Crossey v. Boockvar, Case No. 108 MM 2020, 2020 Pa. LEXIS

4868, at *4 (Pa., Sept. 17, 2020) (“It has long been the law of this Commonwealth,

per 25 P.S. § 3146.6(a), that third-person delivery of absentee ballots is not

permitted. Act 77 adds a substantially identical provision for mail-in ballots, which

we likewise conclude forbids third-party delivery of mail-in votes.”) (citations

omitted); Absentee Ballots of Nov. 4, 2003 Gen. Election, 843 A.2d at 1234 (“[W]e

hold that Section 3146.6(a)’s ‘in person’ delivery requirement is mandatory, and that

the absentee ballots of non-disabled persons who had their ballots delivered in

contravention of this mandatory provision are void.”); Marks, 1994 U.S. Dist.

LEXIS 5273 at *83.

      75.    Also, for both absentee and mail-in voting, Act 77 retains the

requirement that an elector must comply with the following additional mandatory

requirements for such ballot to be properly cast:



                                        - 33 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 34 of 86




             [T]he [non-disabled] elector shall, in secret, proceed to
             mark the ballot only in black lead pencil, indelible pencil
             or blue, black or blue-black ink, in fountain pen or ball
             point pen, and then fold the ballot, enclose and securely
             seal the same in the envelope on which is printed, stamped
             or endorsed “Official Election Ballot.” This envelope shall
             then be placed in the second one, on which is printed the
             form of declaration of the elector, and the address of the
             elector’s county board of election and the local election
             district of the elector. The elector shall then fill out, date
             and sign the declaration printed on such envelope . . . .

25 P.S. §§ 3146.6(a) & 3150.16(a).

      76.    Moreover, as it did prior to the enactment of Act 77, the Election Code

bars the counting of an absentee or mail-in ballot that either lacks an “Official

Election Ballot,” or contains on that envelope “any text, mark or symbol which

reveals the identity of the elector, the elector’s political affiliation or the elector’s

candidate preference,” or fails to contain a completed declaration that is signed and

dated by the elector. Election Code Sections 1306.6(a) and 1308(g)(i)-(iv), 25 P.S.

§§ 3146.6(a) & 3146.8(g)(4)(i)-(iv).

      77.    These provisions in the Election Code, as amended by Act 77, that

identify exactly what an elector “shall” do to properly cast and vote an absentee or

mail-in ballot serve to ensure the secrecy of such ballots and to prevent fraud. See

Absentee Ballots of Nov. 4, 2003 Gen. Election, 843 A.2d at 1232. See also id. at

1234 (the Election Code’s provisions of how to cast an absentee ballot are

“substantive matters—how to cast a reliable vote—and not [] a mere procedural

                                          - 34 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 35 of 86




matter” that can be disregarded by a county board of elections); Appeal of Yerger,

333 A.2d 902, 907 (Pa. 1975) (the validity of a ballot must first be ascertained before

any factual inquiry into the intention of the voter); Appeal of James, 105 A.2d 64,

66 (Pa. 1954) (“[V]iolations of substantive provisions of the [Election] Code cannot

be overlooked on the pretext of pursuing a liberal construction.”).

      78.    Importantly, the Pennsylvania Supreme Court recently reaffirmed that

“ballots that voters have filled out incompletely or incorrectly” shall be set aside and

declared void, and election boards are not permitted to afford these voters a “notice

and opportunity to cure” procedure to remedy such defects. Boockvar, 2020 Pa.

LEXIS 4872 at *55. The Boockvar Court further concluded “that a mail-in ballot

that is not enclosed in the statutorily-mandated secrecy envelope must be

disqualified.” Id. at *73 (emphasis added).

      79.    However, in contrast to prior provisions of the Election Code, all

absentee and mail-in ballots are no longer sent to polling places on Election Day and

are no longer inspected by the local election boards or subject to challenge by

watchers at the polling places. Instead, Act 77 mandates that all properly cast

absentee and mail-in ballots are to be “safely ke[pt] . . . in sealed or locked

containers” at the county boards of elections until they are canvassed by the county

elections boards. Election Code Section 1308(a), 25 P.S. § 3146.8(a).



                                         - 35 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 36 of 86




      80.    Additionally, Act 77 requires that “no earlier than seven o’clock A.M.

on election day,” the county boards of elections shall meet to conduct a pre-canvass

of all absentee and mail-in ballots received to that meeting. Election Code Section

1308(g)(1.1), 25 P.S. § 3146.8(g)(1.1). During the pre-canvass, the election officials

shall inspect and open the envelopes of all absentee and mail-in ballots, remove such

ballots from such envelopes, and count, compute and tally the votes reflected on

such ballots. However, as part of the pre-canvass, the county election boards are

prohibited from recording or publishing the votes reflected on the ballots that are

pre-canvassed. Election Code 102(q.1), 25 P.S. § 2602(q.1).

      81.    Further, contrary to prior provisions of the Election Code, Act 77

mandates that the county boards of elections are to meet no earlier than the close of

polls on Election Day and no later than the third day following the election to begin

canvassing absentee and mail-in ballots. See Election Code Section 1308(g)(2), 25

P.S. § 3146.8(g)(2). However, unlike a pre-canvass, the election officials during a

canvass are permitted to record and publish the votes reflected on the ballots. See

Election Code 102(a.1), 25 P.S. § 2602(a.1).

      82.    Act 77 prohibits an elector from casting both an absentee or mail-in

ballot and in-person ballot, whether as a regular or provisional ballot. Specifically,

Act 77 provides:



                                        - 36 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 37 of 86




             Any elector who receives and votes a mail-in ballot under
             section 1301-D shall not be eligible to vote at a polling
             place on election day. The district register at each polling
             place shall clearly identify electors who have received and
             voted mail-in ballots as ineligible to vote at the polling
             place, and district election officers shall not permit
             electors who voted a mail-in ballot to vote at the polling
             place.
25 P.S. § 3150.16(b)(1). See also Election Code 1306(b)(1), 25 P.S. § 3146.6(b)(1).

      83.    Further, Act 77 provides that an elector who requests a mail-in or

absentee ballot and who is not shown on the district register as having voted may

vote only by provisional ballot at the polling place on Election Day, unless the

elector remits the unvoted mail-in or absentee ballot and the envelope containing the

declaration of the elector to the judge of elections to be spoiled and the elector signs

a statement under penalties of perjury that he or she has not voted the absentee or

mail-in ballot. 25 P.S. §§ 3150.16(b)(2) & (3); 3146.6(b)(2) & (3).

      84.    These restrictions and requirements under Act 77 were put in place to

reduce the possibility that illegally cast and/or fraudulent ballots would be counted.

      85.    On November 3, 2020, Pennsylvania conducted the General Election

for national and statewide candidates; this was the first general election that followed

the enactment of Act 77 and its no-excuse, mail-in voting alternative.

      86.    However, Philadelphians “began in-person mail-in voting at the

[S]atellite [O]ffices on September 29, 2020, sometime between 11:30 a.m. and 12:45


                                         - 37 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 38 of 86




p.m.’” Donald. J. Trump for President, Inc. v. Phila. Cnty. Bd. of Elections, 983 CD

2020, at 7 n. 3 (Pa. Commw. Ct. Oct. 23, 2020) (McCullough, J.) (dissenting).

      87.    In fact, “the presidential election is and has been happening since

September 29, 2020. And all across America, news reports in Philadelphia and

elsewhere have clearly conveyed that multi-millions of electors have already voted.”

Id. at p. 14-15.

      88.    Out of the over 6.70 million votes cast for the Presidential election on

November 3, 2020 in Pennsylvania, over 2.5 million of those votes were cast by

mail-in or absentee ballot.

      89.    Despite the unprecedented number of votes cast by absentee and mail-

in ballots, Defendants failed to take adequate measures to ensure that the provisions

of the Election Code enacted to protect the validity of absentee or mail-in ballots,

including without limitation Act 77, were followed. This is crucial because the

casting of votes in violation of the Election Code’s mandatory provisions renders

them void. Absentee Ballots of Nov. 4, 2003 Gen. Election, 843 A.2d at 1234.

V.    The Department of State’s                  “Guidance”    Memos      Published
      Ahead of the General Election.

      A.     August 19, 2020 Guidance On Inner Secrecy Envelopes.
      90.    On the same day its guidance on the use of unmanned drop boxes and

other ballot-collection sites was disseminated, the Pennsylvania Department of

State, with the knowledge, approval, and/or consent of Secretary Boockvar,
                                        - 38 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 39 of 86




published and disseminated to all the County Election Boards another guidance titled

“Pennsylvania Guidance for Missing Official Ballot Envelopes (‘Naked Ballots’).”

A true and correct copy of the August 19, 2020 Naked Ballots guidance was

available   at   the    Pennsylvania     Department      of    State’s   web     site   at

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/PADOS

_NakedBallot_Guidance_1.0.pdf.

      91.    In her Naked Ballot Guidance, Secretary Boockvar espoused “the …

position that naked ballots should be counted pursuant to the Pennsylvania Election

Code, furthering the Right to Vote under the Pennsylvania and United States

Constitutions[,]” that “[t]he failure to include the inner envelope (‘Secrecy

Envelope’) does not undermine the integrity of the voting process[,]” and that “no

voter should be disenfranchised for failing to place their ballot in the official election

ballot envelope before returning it to the county board of election.” Id.

      92.    On September 17, 2020, the Pennsylvania Supreme Court rejected the

Secretary’s position and ruled that “the secrecy provision language in Election Code

Section 3150.16(a) is mandatory and the mail-in elector’s failure to comply with

such requisite by enclosing the ballot in the secrecy envelope renders the ballot

invalid.” Pennsylvania Democratic Party, 2020 Pa. LEXIS 4872 at *72.

      93.    Following the Pennsylvania Supreme Court’s September 17, 2020

decision, Secretary Boockvar has removed the August 19, 2020 Naked Ballot

                                          - 39 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 40 of 86




guidance from the Pennsylvania Department of State’s website. However, she has

not issued any guidance advising all 67 County Election Boards that they must not

count non-compliant absentee or mail-in ballots, including, without limitation, those

that lack an inner secrecy envelope, contain on that envelope any text, mark, or

symbol which reveals the elector’s identity, political affiliation, or candidate

preference, do not include on the outside envelope a completed declaration that is

dated and signed by the elector, and/or are delivered in-person by third-parties for

non-disabled voters.

      B.     Guidance On Approving Absentee and Mail-In Ballot Applications
             and Canvassing Absentee and Mail-In Ballots.
      94.    On September 11, 2020, the Pennsylvania Department of State, with

the knowledge, approval, and/or consent of Secretary Boockvar, published and

disseminated to all the County Election Boards a guidance titled “GUIDANCE

CONCERNING EXAMINATION OF ABSENTEE AND MAIL-IN BALLOT

RETURN ENVELOPES.” A true and correct copy of the September 11, 2020

Guidance is available at the Pennsylvania Department of State’s web site at

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/Examin

ation%20of%20Absentee%20and%20Mail-

In%20Ballot%20Return%20Envelopes.pdf.

      95.    Under the “Background” section of the September 11, 2020 Guidance,

Secretary Boockvar states that “[b]efore sending [an absentee or mail-in] ballot to
                                        - 40 -
         Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 41 of 86




the applicant, the county board of elections confirms the qualifications of the

applicant by verifying the proof of identification and comparing the information

provided on the application with the information contained in the voter record[,]”

that “[i]f the county is satisfied that the applicant is qualified, the application must

be approved[,]” and that “[t]his approval shall be final and binding, except that

challenges may be made only on the grounds that the applicant was not a qualified

voter . . . .”

        96.      Yet, the Election Code mandates that for non-disabled and non-military

voters, all applications for an absentee or mail-in ballot “shall be signed by the

applicant.” 25 P.S. §§ 3146.2(d) & 3150.12(c).

        97.      Moreover, because of the importance of the applicant’s signature and

the use of the word “shall,” Pennsylvania courts have consistently upheld challenges

to absentee ballots that have been cast by voters who did not sign their absentee

ballot applications. See, e.g., Opening of Ballot Box of the First Precinct of

Bentleyville, 598 A.2d 1341, 1343 (Pa. Commw. Ct. 1991).

        98.      Except for first-time voters, the only basis under the Election Code for

the identification of any voter, whether voting in-person or by absentee or mail-

ballot, is by confirmation of the presence of the voter’s signature.

        99.      Before one can cast a regular ballot at a polling place on Election Day,

that voter is subject to the following signature comparison and challenge process:

                                            - 41 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 42 of 86




            (1) All electors, including any elector that shows proof of
            identification pursuant to subsection (a), shall
            subsequently sign a voter’s certificate in blue, black or
            blue-black ink with a fountain pen or ball point pen, and,
            unless he is a State or Federal employee [sic] who has
            registered under any registration act without declaring his
            residence by street and number, he shall insert his address
            therein, and hand the same to the election officer in charge
            of the district register.

            (2) Such election officer shall thereupon announce the
            elector’s name so that it may be heard by all members of
            the election board and by all watchers present in the
            polling place and shall compare the elector’s signature
            on his voter’s certificate with his signature in the district
            register. If, upon such comparison, the signature upon
            the voter’s certificate appears to be genuine, the elector
            who has signed the certificate shall, if otherwise
            qualified, be permitted to vote: Provided, That if the
            signature on the voter’s certificate, as compared with the
            signature as recorded in the district register, shall not be
            deemed authentic by any of the election officers, such
            elector shall not be denied the right to vote for that reason,
            but shall be considered challenged as to identity and
            required to make the affidavit and produce the evidence as
            provided in subsection (d) of this section.
25 P.S. § 3050(a.3)(1) – (2)(2020) (emphasis added).

      100. Similarly, under Election Code Section 1308(g)(3)-(7), “[w]hen the

county board meets to pre-canvass or canvass absentee ballots and mail-in ballots .

. ., the board shall examine the declaration on the envelope of each ballot not set

aside under subsection (d) and shall compare the information thereon with that

contained in the ‘Registered Absentee and Mail-in Voters File,’ the absentee voters’

list and/or the ‘Military Veterans and Emergency Civilians Absentee Voters File,’
                                        - 42 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 43 of 86




whichever is applicable. If the county board has verified the proof of identification

as required under this act and is satisfied that the declaration is sufficient and the

information contained in the ‘Registered Absentee and Mail-in Voters File,’ the

absentee voters’ list and/or the ‘Military Veterans and Emergency Civilians

Absentee Voters File’ verifies his right to vote, the county board shall provide a list

of the names of electors whose absentee ballots or mail-in ballots are to be pre-

canvassed or canvassed.” 25 P.S. § 3146.8(g)(3). Further, only those ballots “that

have been verified under paragraph (3) shall be counted . . . .” 25 P.S. § 3146.8(g)(4).

If a ballot is not counted because of a lack of a signature, it is considered

“challenged” and subject to the notice and hearing provisions under Section

1308(g)(5)-(7). 25 P.S. § 3146.8(g)(5)-(7).

      101. The Pennsylvania Election Code authorizes the County Election Boards

to set aside and challenge returned absentee or mail-in ballots that do not contain the

signatures of voters and for which the County Election Boards did not verify the

signature of the electors before the mail-in ballot was separated from the outer

envelope.

      102. County Elections Boards failure and refusal to set aside and challenge

returned absentee or mail-in ballots that do not contain the signatures of voters in the

November 3, 2020 General Election has resulted in the arbitrary, disparate, and



                                         - 43 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 44 of 86




unequal treatment between those who vote in-person at the polling place versus those

who vote by absentee or mail-in ballot.

      103. In addition, the disparate treatment between mail-in and in person

voters as to the verification of the voter’s identity through signature verification has

created an environment in Pennsylvania that encourages ballot fraud or tampering

and prevents the Commonwealth and the County Election Boards from ensuring that

the results of the November 3, 2020 General Election are free, fair, and transparent.

      104. As a result of the manner in which the County Election Boards were

directed to conduct the election including the canvassing of mail-in ballots, the

validity of Pennsylvanians’ votes have been unconstitutionally diluted through

Defendants’ arbitrary, disparate, and/or uneven approval of all absentee and mail-in

ballots without performing the requisite verification of the voter’s signature, resulting

in the treatment of by-mail and in-person voters across the state in an unequal fashion

in violation of state and federal constitutional standards.

      105. The Department of State issued an additional deficient guidance related

to the issue of signature verification on September 28, 2020 related to the issue of

signature verification titled “GUIDANCE CONCERNING CIVILIAN ABSENTEE

AND MAIL-IN BALLOT PROCEDURES.” (App. Ex. 25.)1 This most recent


1
      Judicial notice of the Secretary’s September 28, 2020 guidance memo is
appropriate. See Miller v. City of Bradford, No. 17-268 Erie, 2019 U.S. Dist. LEXIS
                                          - 44 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 45 of 86




guidance provides additional information about the acceptance and scrutiny of mail-

in and absentee ballots for the General Election and not only fails to remedy but

doubles down on the illegal September 11 guidance forbidding signature verification

as a reason to set aside both mail-in ballots and ballot applications as well. In this

September 28 guidance memo, the Secretary proclaims that “[t]he Election Code

does not permit county election officials to reject applications or voted ballots based

solely on signature analysis.” (Id., at p. 9.) She then goes even further and

pronounces that “[n]o challenges may be made to mail-in and absentee ballots at any

time based on signature analysis.” (Id.)

      106. Secretary Boockvar continued to issue guidance to the counties in direct

contradiction of the Election Code up until the of the eve of the election. On

November 1, 2020, Secretary Boockvar, with no authority to do so, extended the

Election Code’s mandatory deadline for voters to resolve proof of identification

issues with their mail-in and absentee ballots.2




134248, at *7 n.4 (W.D. Pa. Aug. 9, 2019) (“The Court takes judicial notice of these
provisions, as they constitute matters of public record.”).
2
      The Trump Campaign filed a Petition for Review challenging the validity of
the November 1, 2020 guidance which is currently pending before the
Commonwealth Court of Pennsylvania in Donald J. Trump for President, Inc., et al.
v. Boockvar, Case No. 602 M.D. 2020 (Pa. Commw. Ct. 2020).
                                         - 45 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 46 of 86




VI.   Defendants’ Inconsistent and Uneven Administration of the 2020 General
      Election Violated the Election Code and Infringed Plaintiffs’
      Constitutional Rights to Free, Fair and Transparent Public Elections.

      107. As of the filing of this complaint, 6,743,874 million votes were cast for

President in Pennsylvania, with approximately 2,635,090 ballots returned and cast

by absentee or mail-in ballots (approximately 3.1 million absentee and mail-in

ballots were approved and sent to electors for the General Election).3

      108.   In the named County Elections Boards, the following are the number

of canvassed and tabulated absentee and mail-in ballots:

         a. Allegheny: 335,573

         b. Centre:       32,514

         c. Chester:      148,465

         d. Delaware:     127,751

         e. Montgomery:         238,122

         f. Northampton:        71,893

         g. Philadelphia:       345,197

      109. Despite the fact that well over a third of the votes were cast by mail,

Secretary Boockvar and the Pennsylvania Department of State did not undertake any

meaningful effort to prevent the casting of illegal or unreliable absentee or mail-in



3
     References contained herein to the November 3, 2020 election results in
Pennsylvania are derived from https://www.electionreturns.pa.gov/.
                                         - 46 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 47 of 86




ballots and/or to ensure the application of uniform standards across the County

Election Boards to prevent the casting of such illegal or unreliable ballots. Rather,

Secretary Boockvar has exercised every opportunity to do quite the opposite, thereby

sacrificing the right to vote by those who legally cast their ballots (whether in-person

or through properly cast absentee or mail-ballots) through the unlawful dilution or

debasement of the weight of their vote.

      A.     The Prevalence of Unsolicited Mail-In Votes

      110. Throughout the Commonwealth, including in the named County

Election Boards, numerous voters reported receiving mail-in ballots, even though

they did not apply for them.

      111. Worse, numerous voters reported have received multiple mail-in

ballots, in some documented cases as many as four or five ballots, again, even though

they had not themselves submitted applications for mail-in ballots.

      112. Moreover, at the polling locations on Election Day, voters were

informed that they must vote provisionally because they had applied for mail-in

votes, even though those voters report that they neither applied for nor received mail-

in ballots. Poll watchers throughout the state observed similar incidents.

      113. Voters reported being denied the right to vote in person because they

had been told that they had already voted by mail-in or absentee ballots, even though

they appeared at their polling place with their un-voted mail-in or absentee ballots

                                          - 47 -
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 48 of 86




in hand. In many cases, those voters were required to vote provisionally in-person

at the polls.

       114. Plaintiffs also have reports of voters who were visited at home in the

weeks before the election by individuals soliciting their participation in mail-in

voting. Those voters report that even though they never applied for mail-in ballots,

they did receive mail in ballots, and when they attempted to vote in person were told

that they had voted by mail. In at least two documented cases, even though poll

workers told the voters that they were recorded as having already voted by mail, they

were allowed to vote in person by live ballot on the voting machines.

       115. Other voters reported having received unsolicited and un-applied for

mail-in ballots, but when they went to their in-person polling place, the poll books

reflected that no mail-in ballot had been sent.

       116. A witness, who was required to vote provisionally because the voter

was identified as having requested a mail-in ballot even though the voter had not

done so, contacted the Allegheny County elections office to complain about having

to submit a provisional ballot and was advised hat a larger number of Republican

voters experienced the same issue.

       B.       The Misadministration of the Election by the County Election Boards
                and Poll Workers.
       117. In Montgomery County, a poll watcher observed a Judge of Elections

pull aside voters who were not listed in the poll books as registered to vote. The poll
                                         - 48 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 49 of 86




watcher reports hearing the Judge of Elections tell those voters that they needed to

return later and report their name as another name that was in the poll book.

      118. Across numerous counties, poll watchers observed poll workers

mishandling spoiled mail-in or absentee ballots brought to the polling place by voters

who intended to vote in-person. Rather than disposing of the spoiled ballots

securely, the spoiled ballots were instead placed in unsecured boxes or in stacks of

paper despite the protests of voters or poll watchers. For instance in Centre County,

a poll worker observed mail-in ballots being improperly spoiled. The workers

placed the mail-in ballots returned to the polling place by in-person voters in a bag

without writing “void” on them or otherwise destroying them.

      119. In at least one case, a voter brought the voter’s own secrecy envelope

to the polling place after realizing that the voter had failed to include it when

returning the mail-in ballot. The voter was not permitted to submit a provisional

ballot in accordance with the statute.

      120. In Allegheny County, Plaintiffs have received reports that poll workers

were observing voters vote provisionally in such a way that the poll worker could

determine which candidates the elector voted on their provisional ballot.

      121. In Centre County, a poll worker reported that persons appearing at the

polls and admitting that they were New Jersey voters, rather than Pennsylvania

voters, were nonetheless provided provisional ballots on which to vote.

                                         - 49 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 50 of 86




      122. In Chester County, a representative watcher present during the pre-

canvass observed the elections workers counting a reported 15% of mail-in ballots

that were sliced or otherwise damaged during the mechanized ballot opening

process. Some of those ballots were cut in half and workers had a hard time

identifying how to address and/or to rectify the issue.

      123. In Chester County, an observer witnessed a flawed resolution process

for over-voted and under-voted ballots. The observer witnessed one election worker

responsible for resolving over-voted and under-voted ballots by subjectively

determining who the elector intended to choose on the empty votes. The observer

reports that in numerous instances the election worker altered the over-voted ballot

by changing votes that had been marked for Donald J. Trump to another candidate.

      124. In Delaware County, an observer at the county office observed issues

related to mail-in voted ballots being scanned through machines four or five times

before finally being counted. When a voting machine warehouse supervisor arrived

to address whether the machine was malfunctioning, the supervisor instead reported

that the bar codes on the ballots must be “defective.”

      125. In Delaware County, poll watchers observed in at least seven (7)

different polling locations numerous instances of voters who were told they had

registered to vote by mail, but were given regular ballots, rather than provisional

ballots, and were not made to sign in the registration book.

                                        - 50 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 51 of 86




      126. Mail carriers have noted significant anomalies related to the delivery of

mail-in ballots. A mail carrier for the USPS in Erie County has noted that during

the course of the General Election mail-in ballot delivery period there were multiple

instances in which dozens of mail-in ballots were addressed to single addresses, each

ballot being in a different name. Based on the carrier’s experience delivering mail

to those addresses, the carrier is aware that the people whose names were on the

ballots are not names of people who live at those addresses. In addition, ballots

were mailed to vacant homes, vacation homes, empty lots, and to addresses that do

not exist.

      127. It has been reported by Project Veritas, in a release on November 5,

2020, that carriers were told to collect, separate and deliver all mail-in ballots

directly to the supervisor. In addition, Plaintiffs have information that the purpose

of that process was for the supervisor to hand stamp the mail-in ballots.

       C.    Uneven Treatment of Absentee and Mail-Ballots That Fail to Include
             a Secrecy Envelope or Otherwise Comply with the Mandates of the
             Election Code.

      128. The statutory provisions in the Election Code and Act 77 involving

absentee and mail-in ballots do not repose in either Secretary Boockvar or the

County Election Boards the free-ranging power to attempt to ascertain voter intent

or rule out fraud when a vote has been cast in violation of its explicit mandates.

While voter intention may be paramount in the realm of the fundamental right to

                                        - 51 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 52 of 86




vote, ascertaining that intent necessarily assumes a properly cast ballot. Otherwise,

a properly cast ballot will be diluted by one which has been improperly cast.

      129. By enacting the inner secrecy envelope proscription and the other

mandates for the casting of a “reliable vote” via an absentee or mail-in ballot, the

General Assembly weighed the factors bearing on that question, and it did not vest,

and has not vested, any discretion or rule-making authority in Secretary Boockvar

and/or the County Election Boards to reweigh those factors in determining whether

or not to count a particular absentee or mail-in ballot should be counted.

Pennsylvania Democratic Party, 2020 Pa. LEXIS 4872 at *73.

      130. Pennsylvania prominently included secrecy envelope instructions in its

mail-in ballot and absentee ballot mailings, and in the months and weeks leading up

to the election, repeated those instructions on its website and on its social media

postings.   See,   e.g.,   https://www.votespa.com/Voting-in-PA/Pages/Mail-and-

Absentee-Ballot.aspx

      131. Local officials also engaged in media campaigns to encourage voters to

remember not to send their ballots in “naked,” i.e. without the secrecy envelope. The

“naked ballot” ad campaign even included several local celebrities and election

officials appearing on social media topless to remind the public about the inner

envelope.



                                        - 52 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 53 of 86




      132. Certain of the County Election Boards proceeded to pre-canvass mail-

in ballot envelopes prior to Election Day on November 3, 2020, and for those ballots

that lacked an inner secrecy envelope, the voters were notified prior to Election Day

in order to cure the invalidity by voting provisionally on Election Day at their polling

location.

      133. Philadelphia County, however, had other plans. As reflected in a

document titled “Cancelled Ballot Notification Information,” Philadelphia County

sent a “notification” to voters whose “ballot was cancelled” because, among other

reasons, the ballot “was returned without a signature on the declaration envelope” or

“was determined to lack a secrecy envelope.” Philadelphia County allowed those

voters to cure this defect by casting a “provisional ballot on Election Day” or

requesting “a replacement ballot at a satellite election office.” Philadelphia City

Comm’rs, Cancelled Ballot Notification Information, bit.ly/3la08LR (last visited

Nov. 7, 2020).

      134. To figure out which voters should be notified, Philadelphia County had

to inspect the mail-in ballots before election day—in plain violation of state law. See

25 P.S. §3146.8. This required substantial manipulation: Officials in Philadelphia

County were determining whether ballots were missing an inner secrecy envelope,

for example, which cannot be determined without manipulating the outer

envelope—feeling the envelope, holding the envelope up to the light, weighing the

                                         - 53 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 54 of 86




envelope, by evaluating the weight of the envelope through the sorting and/or

scanning equipment, etc.        This kind of tampering squarely undermines the

legislature’s “mandate” that mail-in voting cannot compromise “fraud prevention”

or “ballot secrecy.” Pa. Democratic Party, 2020 Pa. LEXIS 4872, at *26.

      135. Secretary Boockvar encouraged this unlawful behavior.             In an

November 2, 2020 email sent at approximately 8:30 p.m. on the eve of the November

3, 2020 General Election, her office suggested that counties “should provide

information to party and candidate representatives during the pre-canvass that

identifies the voters whose ballots have been rejected” so that those voters “may be

issued a provisional ballot.”

      136. While counties like the Defendant County Boards of Elections

permitted voters to cast either replacement absentee and mail-in ballots before

Election Day or provisional ballots on Election Day in order to cure their defective

mail-in ballots, many more counties are not. Lancaster, York, Westmoreland and

Berks Counties, for example, did not contact voters who submitted defective ballots

or give them an opportunity to cure. They simply followed the law and treated these

ballots as invalid and refused to count them.

      137. Because the counties that followed state law and did not provide a cure

process are heavily Republican (and counties that violated state law and did provide

a cure process are heavily Democratic), Defendants’ conduct harmed the Trump

                                        - 54 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 55 of 86




Campaign. It deprived the President of lawful votes and awarded his opponent with

unlawful votes.

      D.     Uneven Treatment of Watchers and Representatives at the County
             Election Boards’ Canvassing of Ballots.

      138. In every instance where an absentee or mail-in ballot is opened and

canvassed by a county election board, poll watchers and canvass representatives are

legally permitted to be present.      See Election Code Section 1308(b), 25 P.S.

§ 3146.8(b) (“Watchers shall be permitted to be present when the envelopes

containing official absentee ballots and mail-in ballots are opened and when such

ballots are counted and recorded.”); see also 25 P.S. § 3146.8(g)(1.1) and (g)(2).

      139. Poll watchers and canvass representatives serve the important purpose

of assuring voters, candidates, political parties, and political bodies, who may

question the fairness of the election process, that the same is conducted in

compliance with the law, and is done in a correct manner which protects the integrity

and validity of the vote and ensures that all elections are free, open, fair, and honest.

      140. Defendants have not allowed watchers and representatives to be present

when the required declarations on envelopes containing official absentee and mail-

in ballots are reviewed for sufficiency, when the ballot envelopes are opened, and

when such ballots are counted and recorded. Instead, watchers were kept by security

personnel and a metal barricade from the area where the review, opening, and


                                         - 55 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 56 of 86




counting were taking place. Consequently, it was physically impossible to view the

envelopes or ballots.

      141. In Centre County, the central pre-canvassing location was a large

ballroom. The set-up was such that the poll watchers did not have meaningful access

to observe the canvassing and tabulation process of mail-in and absentee ballots, and

in fact, the poll watchers and observers who were present could not actually observe

the ballots such that they could confirm or object to the validity of the ballots.

      142. In Philadelphia County, poll watchers and canvass representatives were

denied access altogether in some instances.

      143. In Delaware County, observers were denied access to a back room

counting area. After a court-ordered injunction, the poll watchers and canvass

representatives were finally allowed in the back room counting area on November

5, 2020, to observe, but for only five minutes every two hours. During the allowed

observation time in the back room counting area, the observers witnessed tens of

thousands of paper ballots.

      144. Other Pennsylvania Counties provided watchers with appropriate

access to view the ballots as required by Commonwealth law. However, Defendants

intentionally denied the Trump Campaign access to unobstructed observation and

ensure opacity, denying Plaintiffs and the residents of Pennsylvania the equal

protection of the law.

                                         - 56 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 57 of 86




      145. With particular regard to the Philadelphia County Board of Elections,

the Board would not permit the Trump Campaign’s watchers to be within 6 feet of

“all aspects” of the pre-canvassing process in direct contravention of

Commonwealth Court Judge Christine Fizzano Cannon’s November 5, 2020 Order

“requiring that all candidates, watchers, or candidate representatives be permitted to

be present for the canvassing process pursuant to 25 P.S. § 2650 and/or 25 P.S. §

3146.8 and be permitted to observe all aspects of the canvassing process within 6

feet.” See In Re: Canvassing Observation, 11/05/2020 Order, 1094 C.D. 2020 (Pa.

Commw. Ct. 2020).

      146. The Order required the Philadelphia Board of Elections to comply and

allow watcher to be within 6 feet by 10:30 a.m., but at 10:35 a.m. the workers were

denied entry. Instead, the Board sent all of the workers on a break (previously

workers received breaks on a rolling basis), and the Commissioners met offsite. Two

hours later the workers returned, and the watchers were allowed to be within 6 feet,

but within 6 feet of the first row of counters only. Within a short period of time, the

workers began working at other rows that were well-beyond 6-feet, rendering it

impossible for watchers to observe the rows that were more than 25-feet beyond the

area where watchers were allowed. Moreover, during the course of the entire period,

the workers repeatedly removed ballots, sometimes over 100 feet away, to do



                                         - 57 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 58 of 86




something with them, which the Trump Campaign’s watchers were unable to

observe.

      147. Other Counties in the Commonwealth afford watchers the right to be

present – that is, to be able to meaningfully view and even read – when official

absentee and mail-in ballots are reviewed, being opened, counted, or recorded as

required by 25 P.S. § 3146.8(b).

      148. It is estimated that 680,770 ballots were processed by the Allegheny

and Philadelphia County Boards of Elections when no observation was allowed.

      149. A shocking number of mail-in ballots have inexplicably appeared in

counties since the November 4 ballot reports. For instance, in Delaware County, the

county’s Wednesday, November 4 report indicated that Delaware County reported

it has received about 113,000 mail-in ballots and counted approximately 93,000

voted ballots. On the next day, November 5, the Secretary of the Commonwealth’s

4:30 report reflected that Delaware County had received about 114,000

ballots. Several hours later, the Delaware County solicitor reported to an observer

that the County had received about 126,000 mail-in ballots and counted about

122,000. As of Sunday, November 8, 2020, the Department of State’s website

reflects that the County has counted about 127,000 mail-in ballots. Plaintiffs have

received no explanation for where the additional 14,000 voted ballots came from,

when they arrived, or why they are included in the current count.

                                       - 58 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 59 of 86




       150. Defendants have also violated the Equal Protection Clause because as

a result of their desire to ensure opacity, watchers in Allegheny and Philadelphia

County do not have the same right as watchers in other Pennsylvania Counties to be

present as a matter of law when envelopes containing official absentee and mail-in

ballots are reviewed and opened and when such ballots are counted and recorded.

Also, this means voters are at an unequal risk of having their legal votes diluted by

ballots that otherwise should be disqualified. There is no legitimate state interest

justifying this disparity.

       E.     Mail-in Ballots Received After 8 p.m. On Election Day

       151. In Delaware County, an observer in the county office where mail-in

ballots were counted was told by the Delaware County Solicitor that ballots

received on November 4, 2020, were not separated from ballots received on

Election Day, and the County refused to answer any additional questions.

       152. Also in Delaware County, an observer in the county office where mail-

in ballots were counted witnessed a delivery on November 5, 2020, of v-cards or

USB drives in a plastic bag with no seal and no accompanying paper ballots. The v-

cards or USB drives were taken to the back counting room, where observer access

was limited. There was no opportunity to observe what happened to the v-cards or

USB drives in the back counting room.



                                        - 59 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 60 of 86




VII. Need for Emergency Judicial Intervention.
      153. The Equal Protection Clause mandates that the Commonwealth provide

and use in every County the same statewide uniform standards and regulations when

conducting statewide or multi-county elections involving federal candidates,

including without limitation the standards and regulations providing for the casting

and counting of votes. Pierce, 324 F. Supp. 2d at 698-99. In other words, the Equal

Protection Clause requires every county in the Commonwealth to enforce and apply

the same standards and procedures for an election, and it does not allow a select few

counties to either decline to enforce or employ those standards or develop their own

contradicting standards that benefit their voters to the detriment of voters outside

their counties. Id.

      154. For statewide elections involving federal candidates, Defendants’

allowance, by act or omission, of the collection and counting of in-person,

provisional, and absentee and mail-in ballots in a manner and at locations that are

contrary to the Election Code’s mandatory provisions (as set forth above) constitutes

legislative action by the Executive Branch in violation of the Elections and Electors

Clauses of the United States Constitution.

      155. Finally, the Defendants’ lack of statewide standards and use of a

patchwork of ad-hoc rules that vary from county to county in a statewide election



                                        - 60 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 61 of 86




involving federal and state-wide candidates violates the Equal Protection clause of

the Fourteenth Amendment. Pierce, 324 F. Supp. 2d at 698-99.

      156. Because the standards in the conduct of statewide elections involving

federal and state candidates, including without limitation the casting and counting

of votes, are to be uniform, Plaintiffs have a vested interest in ensuring that the

electoral process is properly administered in every election district. However, the

administration of the November 3, 2020 General Election across the counties of the

Commonwealth, in particular in the named County Election Boards, was far from

uniform and did not follow the strictures of the Election Code and the United States

Constitution.

      157. In light of the Defendants’ clear violations of United States Constitution

through their illegal implementation of Pennsylvania’s Election Code, as set forth

above, Plaintiffs seek an order, declaration and/or injunction directing the

Defendants to verify and confirm that all mail-in ballots tabulated in the 2020

election results in Commonwealth of Pennsylvania were validly cast in compliance

with state law.

      158.      The current voting regime as employed by Defendants has resulted in

the denial of free and fair elections and other fundamental rights during the 2020

Pennsylvania General Election.



                                        - 61 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 62 of 86




                                     COUNT I

                             Fourteenth Amendments
 U.S. Const. Art. I § 4, cl. 1; Art. II, § 1, cl. 2; Amend. XIV, 42 U.S.C. § 1983
                Denial of Due Process On The Right to Vote
        Invalid Enactment of Regulations Affecting Observation and
                            Monitoring of the Election
      159. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

      160. The right of qualified citizens to vote in a state election involving

federal candidates is recognized as a fundamental right under the Fourteenth

Amendment of the United States Constitution. Harper v. Virginia State Board of

Elections, 383 U.S. 663, 665 (1966). See also Reynolds, 377 U.S. at 554 (The

Fourteenth Amendment protects the “the right of all qualified citizens to vote, in

state as well as in federal elections.”). Indeed, ever since Slaughter-House Cases,

83 U.S. 36 (1873), the United States Supreme Court has held that the Privileges or

Immunities Clause of the Fourteenth Amendment protects certain rights of federal

citizenship from state interference, including the right of citizens to directly elect

members of Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing

Ex parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell,

400 U.S. 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).




                                        - 62 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 63 of 86




      161. The fundamental right to vote protected by the Fourteenth Amendment

is cherished in our nation because it “is preservative of other basic civil and political

rights.” Reynolds, 377 U.S. at 562.

      162. Voters have a “right to cast a ballot in an election free from the taint of

intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211 (1992), and

“[c]onfidence in the integrity of our electoral processes is essential to the functioning

of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per

curiam).

      163. “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots and

have them counted” if they are validly cast. United States v. Classic, 313 U.S. 299,

315 (1941). “[T]he right to have the vote counted” means counted “at full value

without dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting South v.

Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

      164. “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right under

the Constitution to have his vote fairly counted, without its being distorted by

fraudulently cast votes.” Anderson v. United States, 417 U.S. 211, 227 (1974); see

also Baker v. Carr, 369 U.S. 186, 208 (1962).



                                          - 63 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 64 of 86




      165. Invalid or fraudulent votes “debase[]” and “dilute” the weight of each

validly cast vote. See Anderson, 417 U.S. at 227.

      166. The right to an honest [count] is a right possessed by each voting

elector, and to the extent that the importance of his vote is nullified, wholly or in

part, he has been injured in the free exercise of a right or privilege secured to him by

the laws and Constitution of the United States.” Anderson, 417 U.S. at 226 (quoting

Prichard v. United States, 181 F.2d 326, 331 (6th Cir.), aff'd due to absence of

quorum, 339 U.S. 974 (1950)).

      167. Practices that promote the casting of illegal or unreliable ballots, or fail

to contain basic minimum guarantees against such conduct, can violate the

Fourteenth Amendment by leading to the dilution of validly cast ballots. See

Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a debasement

or dilution of the weight of a citizen’s vote just as effectively as by wholly

prohibiting the free exercise of the franchise.”).

      168. The Fourteenth Amendment Due Process Clause protects the right to

vote from conduct by state officials which seriously undermines the fundamental

fairness of the electoral process. Marks v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994);

Griffin v. Burns, 570 F.2d 1065, 1077-78 (1st Cir. 1978).

      169. Separate from the Equal Protection Clause, the Fourteenth

Amendment’s due process clause protects the fundamental right to vote against “the

                                         - 64 -
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 65 of 86




disenfranchisement of a state electorate.” Duncan v. Poythress, 657 F.2d 691, 702

(5th Cir. 1981).

       170. “When an election process ‘reaches the point of patent and fundamental

unfairness,’ there is a due process violation.”        Florida State Conference of

N.A.A.C.P. v. Browning, 522 F.3d 1153, 1183-84 (11th Cir. 2008) (quoting Roe v.

Alabama, 43 F.3d 574, 580 (11th Cir.1995) (citing Curry v. Baker, 802 F.2d 1302,

1315 (11th Cir.1986))). See also Griffin, 570 F.2d at 1077 (“If the election process

itself reaches the point of patent and fundamental unfairness, a violation of the due

process clause may be indicated and relief under § 1983 therefore in order.”); Marks

v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994) (enjoining winning state senate candidate

from exercising official authority where absentee ballots were obtained and cast

illegally).

       171. Part of courts’ justification for such a ruling is the Supreme Court’s

recognition that the right to vote and to free and fair elections is one that is

preservative of other basic civil and political rights. See Black, 209 F.Supp.2d at

900 (quoting Reynolds, 377 U.S. at 561-62 (“since the right to exercise the franchise

in a free and unimpaired manner is preservative of other basic civil and political

rights, any alleged infringement of the right of citizens to vote must be carefully and

meticulously scrutinized.”)); see also Yick Wo v. Hopkins, 118 U.S. 356, 370



                                         - 65 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 66 of 86




(1886) (“the political franchise of voting … is regarded as a fundamental political

right, because [sic] preservative of all rights.”).

      172. “[T]he right to vote, the right to have one’s vote counted, and the right

to have ones vote given equal weight are basic and fundamental constitutional rights

incorporated in the due process clause of the Fourteenth Amendment to the

Constitution of the United States.” Black, 209 F. Supp. 2d at 900 (a state law that

allows local election officials to impose different voting schemes upon some

portions of the electorate and not others violates due process).

      173. “Just      as    the equal    protection    clause    of    the    Fourteenth

Amendment prohibits state officials from improperly diluting the right to vote,

the due process clause of the Fourteenth amendment forbids state officials from

unlawfully eliminating that fundamental right.” Duncan, 657 F.2d at 704.

      174. “Having once granted the right to vote on equal terms, [Defendants]

may not, by later arbitrary and disparate treatment, value one person's vote over that

of another.” Bush, 531 U.S. at 104-05.

      175. In statewide and federal elections conducted in the Commonwealth of

Pennsylvania, including without limitation the November 3, 2020 General Election, all

candidates, political parties, and voters, including without limitation Plaintiffs, have a

vested interest in being present and having meaningful access to observe and monitor



                                          - 66 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 67 of 86




the electoral process to ensure that it is properly administered in every election district

and otherwise free, fair, and transparent.

      176. Moreover,        through     its      provisions   involving   watchers     and

representatives, the Pennsylvania Election Code ensures that all candidates and

political parties, including without limitation Plaintiff, the Trump Campaign, shall be

“present” and have meaningful access to observe and monitor the electoral process to

ensure that it is properly administered in every election district and otherwise free,

fair, and transparent.

      177. Defendants have a duty to guard against deprivation of the right to vote

through the dilution of validly cast ballots by ballot fraud or election tampering.

      178. Rather than heeding these mandates and duties, Defendants arbitrarily

and capriciously denied the Trump Campaign meaningful access to observe and

monitor the electoral process by: (a) mandating that representatives at the pre-

canvass and canvass of all absentee and mail-ballots be either Pennsylvania barred

attorneys or qualified registered electors of the county in which they sought to

observe and monitor; and (b) not allowing watchers and representatives to visibly

see and review all envelopes containing official absentee and mail-in ballots either

at the time or before they were opened and/or when such ballots were counted and

recorded. Instead, Defendants refused to credential all of the Trump Campaign’s

submitted watchers and representatives and/or kept Trump Campaign’s watchers

                                              - 67 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 68 of 86




and representatives by security and metal barricades from the areas where the

inspection, opening, and counting of absentee and mail-in ballots were taking place.

Consequently, Defendants created a system whereby it was physically impossible

for the candidates and political parties to view the ballots and verify that illegally

cast ballots were not opened and counted.

      179. Defendants intentionally and/or arbitrarily and capriciously denied

Plaintiffs access to and/or obstructed actual observation and monitoring of the

absentee and mail-in ballots being pre-canvassed and canvassed by Defendants.

      180. Defendants have acted and will continue to act under color of state law

to violate the right to vote and due process as secured by the Fourteenth Amendment

to the United States Constitution.

      181. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                     COUNT II

                          Fourteenth Amendment
                  U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                         Denial of Equal Protection
         Invalid Enactment of Regulations Affecting Observation and
                         Monitoring of the Election

      182. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.



                                        - 68 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 69 of 86




      183. The equal enforcement of election laws is necessary to preserve our

most basic and fundamental rights.

      184. The requirement of equal protection is particularly stringently enforced

as to laws that affect the exercise of fundamental rights, including the right to vote.

      185. In statewide and federal elections conducted in the Commonwealth of

Pennsylvania, including without limitation the November 3, 2020 General Election, all

candidates, political parties, and voters, including without limitation Plaintiffs, have a

vested interest in being present and having meaningful access to observe and monitor

the electoral process in each County to ensure that it is properly administered in every

election district and otherwise free, fair, and transparent.

      186. Moreover,        through     its      provisions    involving   watchers   and

representatives, the Pennsylvania Election Code ensures that all candidates and

political parties in each County, including the Trump Campaign, have meaningful

access to observe and monitor the electoral process to ensure that it is properly

administered in every election district and otherwise free, fair, and transparent. See,

e.g., 25 P.S. §§ 3146.8(b) & (g)(1.1)-(2).

      187. Defendants have a duty to treat the voting citizens in each County in

the same manner as the citizens in other Counties in Pennsylvania.

      188. Rather than heeding these mandates and duties, Defendants denied the

Trump Campaign equal rights to meaningful access to observe and monitor the

                                              - 69 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 70 of 86




electoral process enjoyed by citizens in other Pennsylvania Counties by: (a)

mandating that representatives at the pre-canvass and canvass of all absentee and

mail-ballots be either Pennsylvania barred attorneys or qualified registered electors

of the county in which they sought to observe and monitor; and (b) not allowing

watchers and representatives to visibly see and review all envelopes containing

official absentee and mail-in ballots either at or before they were opened and/or when

such ballots were counted and recorded. Instead, Defendants refused to credential

all of the Trump Campaign’s submitted watchers and representatives and/or kept

Trump Campaign’s watchers and representatives by security and metal barricades

from the areas where the inspection, opening, and counting of absentee and mail-in

ballots were taking place. Consequently, Defendants created a system whereby it

was physically impossible for the candidates and political parties to view the ballots

and verify that illegally cast ballots were not opened and counted.

      189. Other Pennsylvania county boards of elections provided watchers and

representatives of candidates and political parties, including without limitation

watchers and representatives of the Trump Campaign, with appropriate access to

view the absentee and mail-in ballots being pre-canvassed and canvassed by those

county election boards and without restricting representatives by any county

residency or Pennsylvania bar licensure requirements.



                                        - 70 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 71 of 86




      190. Defendants intentionally and/or arbitrarily and capriciously denied

Plaintiffs access to and/or obstructed actual observation and monitoring of the

absentee and mail-in ballots being pre-canvassed and canvassed by Defendants,

depriving them of the equal protection of those state laws enjoyed by citizens in other

Counties.

      191. Defendants have acted and will continue to act under color of state law

to violate Plaintiffs’ right to be present and have actual observation and access to the

electoral process as secured by the Equal Protection Clause of the United States

Constitution.

      192. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                     COUNT III

                  U.S. Const. Art. I, §4, cl. 1 & Art. II, § 1, cl. 2
                  Violation of the Electors & Elections Clauses
      193. Plaintiffs incorporate each of the prior allegations in this complaint.

      194. The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for President.

U.S. Const. art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause of

the U.S. Constitution states that “[t]he Times, Places, and Manner of holding

Elections for Senators and Representatives, shall be prescribed in each State by the

Legislature thereof.” U.S. Const. art. I, § 4, cl. 1 (emphasis added).
                                         - 71 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 72 of 86




      195. The Legislature is “‘the representative body which ma[kes] the laws of

the people.’” Smiley, 285 U.S. at 365.

      196. Regulations of congressional and presidential elections, thus, “must be

in accordance with the method which the state has prescribed for legislative

enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting

Comm’n, 135 S. Ct. 2652, 2668 (2015).

      197. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House of

Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522; Patterson,

60 Pa. at 75.

      198. Defendants, as a member of the Governor’s Executive Board and

county boards of elections, are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to “tak[ing] care that the

laws be faithfully executed.” Pa. Const. Art. IV, § 2.

      199. Because the United States Constitution reserves for the General

Assembly the power to set the time, place, and manner of holding elections for the

President and Congress, county boards of elections and state executive officers have

no authority to unilaterally exercise that power, much less to hold them in ways that

conflict with existing legislation.



                                         - 72 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 73 of 86




      200. Through its provisions involving watchers and representatives, the

Pennsylvania Election Code ensures that all candidates and political parties, including

without limitation Plaintiff, the Trump Campaign, shall be “present” and have

meaningful access to observe and monitor the electoral process to ensure that it is

properly administered in every election district and otherwise free, fair, and

transparent. See, e.g., 25 P.S. §§ 3146.8(b) & (g)(1.1)-(2).

      201. Defendants are not the legislature, and their unilateral decision to

implement rules and procedures that deny Plaintiffs the ability to be “present” and

have meaningful access to observe and monitor the electoral process violates the

Electors and Elections Clauses of the United States Constitution.

      202. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                     COUNT IV

                         Fourteenth Amendment
                U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                        Denial of Equal Protection
 Disparate Treatment of Absentee/Mail-In Voters Among Different Counties

      203. Plaintiffs incorporate each of the prior allegations in this Complaint.

      204. According to the Supreme Court, the Fourteenth Amendment of the

United States Constitution protects the “the right of all qualified citizens to vote …

in federal elections.” Reynolds, 77 U.S. at 554. Consequently, state election laws


                                         - 73 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 74 of 86




may not “deny to any person within” the state’s “jurisdiction the equal protection of

the laws.” U.S. Const. amend. XIV, §1, cl. 4.

      205. The Equal Protection Clause requires States to “‘avoid arbitrary and

disparate treatment of the members of its electorate.’” Charfauros v. Bd. of

Elections, 249 F.3d 941, 951 (9th Cir. 2001) (quoting Bush, 531 U.S. at 105). That

is, each citizen “has a constitutionally protected right to participate in elections on

an equal basis with other citizens in the jurisdiction.” Dunn v. Bloomstein, 405 U.S.

330, 336 (1972). A qualified voter “is no more nor no less so because he lives in the

city or on the farm. This is the clear and strong command of our Constitution’s Equal

Protection Clause.” Reynolds, 377 U.S. at 568; see also Gray v. Sanders, 372 U.S.

368, 380 (1963) (“The idea that every voter is equal to every other voter in his State,

when he casts his ballot in favor of one of several competing candidates, underlies

many of [the Supreme Court’s] decisions.”). “[H]aving once granted the right to

vote on equal terms, the State may not, by later arbitrary and disparate treatment,

value one person’s vote over that of another.” Bush, 531 U.S. at 104-05.

      206.    “The right to vote extends to all phases of the voting process, from

being permitted to place one’s vote in the ballot box to having that vote actually

counted. Thus, the right to vote applies equally to the ‘initial allocation of the

franchise’ as well as ‘the manner of its exercise.’ Once the right to vote is granted, a

state may not draw distinctions between voters that are inconsistent with the

                                         - 74 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 75 of 86




guarantees of the Fourteenth Amendment’s equal protection clause.” Pierce, 324 F.

Supp. 2d at 695.

      207. “[T]reating voters differently” thus “violate[s] the Equal Protection

Clause” when the disparate treatment is the result of arbitrary, ad hoc processes.

Charfauros, 249 F.3d at 954. Indeed, a “minimum requirement for non-arbitrary

treatment of voters [is] necessary to secure the fundamental right [to vote].” Bush,

531 U.S. at 105.

      208. The use of “standardless” procedures can violate the Equal Protection

Clause. Bush, 531 U.S. at 103. “The problem inheres in the absence of specific

standards to ensure … equal application” of even otherwise unobjectionable

principles. Id. at 106. Any voting system that involves discretion by decision

makers about how or where voters will vote must be “confined by specific rules

designed to ensure uniform treatment.” Id. See also Thomas v. Independence Twp.,

463 F.3d 285, 297 (3d Cir. 2006) (Equal Protection Clause prohibits the “selective

enforcement” of a law based on an unjustifiable standard); United States v.

Batchelder, 442 U.S. 114, 125 n.9, 99 S. Ct. 2198, 60 L. Ed. 2d 755 (1979).

      209. Allowing a patchwork of different rules from county to county, and as

between similarly situated absentee and mail-in voters, in a statewide election

involving federal and state candidates implicates equal protection concerns. Pierce,

324 F. Supp. 2d at 698-99. See also Gray, 372 U.S. at 379-81 (a county unit system

                                       - 75 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 76 of 86




which weights the rural vote more heavily than the urban vote and weights some

small rural counties heavier than other larger rural counties violates the Equal

Protection Clause and its one-person, one-vote jurisprudence).

      210. The equal enforcement of election laws is necessary to preserve our

most basic and fundamental rights. Moreover, the requirement of equal treatment is

particularly stringently enforced as to laws that affect the exercise of fundamental

rights, see Reed v. Town of Gilbert, 135 S. Ct. 2218, 2226 (2015), including the right

to vote.

      211. Because of Defendants’ conduct, voters in some counties have been and

being treated differently than voters in other counties—and for no good reason. A

voter in any of the counties covered by the Defendant County Elections Boards, who

received notice of a defective mail-in ballot and an opportunity to cure it by

correcting the ballot or casting a new one before Election Day or by casting a

provisional ballot at the polling place on Election Day, has had or may have his vote

counted. But voters like Mr. Henry, who received no such opportunity, will not, as

their votes were rejected as having been improperly cast and thus void.

      212. That “different standards have been employed in different counties

across the Commonwealth of Pennsylvania to determine whether an absentee ballot

should be counted” is the “kind of disparate treatment” that violates “the equal



                                        - 76 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 77 of 86




protection clause because uniform standards will not be used statewide to discern

the legality of a vote in a statewide election.” Pierce, 324 F. Supp. 2d at 699.

      213. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                      COUNT V
                       U.S. Const. Art. I, §4, & Art. II, § 1
                  Violation of the Electors & Elections Clauses
      214. Plaintiffs incorporate each of the prior allegations in this complaint.

      215. The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for President.

Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause of the U.S.

Constitution states that “[t]he Times, Places, and Manner of holding Elections for

Senators and Representatives, shall be prescribed in each State by the Legislature

thereof.” Art. I, § 4, cl. 1 (emphasis added).

      216. The Legislature is “‘the representative body which ma[kes] the laws of

the people.’” Smiley, 285 U.S. at 1932.

      217. Regulations of congressional and presidential elections, thus, “must be

in accordance with the method which the state has prescribed for legislative

enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting

Comm’n, 135 S. Ct. 2652, 2668 (2015).


                                          - 77 -
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 78 of 86




       218. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House of

Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522; Patterson,

60 Pa. at 75.

       219. Defendants, as a member of the Governor’s Executive Board and

county boards of elections, are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to “tak[ing] care that the

laws be faithfully executed.” Pa. Const. Art. IV, § 2.

       220. Because the United States Constitution reserves for the General

Assembly the power to set the time, place, and manner of holding elections for the

President and Congress, county boards of elections and state executive officers have

no authority to unilaterally exercise that power, much less to hold them in ways that

conflict with existing legislation.

       221. According to the Pennsylvania Supreme Court, “although the Election

Code provides the procedures for casting and counting a vote by mail, it does not

provide for the ‘notice and opportunity to cure’ procedure[.]” Pa. Democratic Party,

2020 Pa. LEXIS 4872, at *56. Moreover, “[t]o the extent that a voter is at risk for

having his or her ballot rejected due to minor errors made in contravention of those

requirements, … the decision to provide a ‘notice and opportunity to cure’ procedure

to alleviate that risk is one best suited for the Legislature[,] . . . particularly in light

                                           - 78 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 79 of 86




of the open policy questions attendant to that decision, including what the precise

contours of the procedure would be, how the concomitant burdens would be

addressed, and how the procedure would impact the confidentiality and counting of

ballots, all of which are best left to the legislative branch of Pennsylvania's

government.” Id.

      222. Defendants are not the legislature, and their unilateral decision to create

a cure procedure violates the Electors and Elections Clauses of the United States

Constitution.

      223. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                     COUNT VI

             Fourteenth Amendment Equal Protection Clause
                U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                          Denial of Due Process
 Disparate Treatment of Absentee/Mail-In Voters Among Different Counties
      224. Plaintiffs incorporate each of the prior allegations in this Complaint.

      225. Voting is a fundamental right protected by the Fourteenth Amendment

to the United States Constitution.

      226. The Fourteenth Amendment protects the right to vote from conduct by

state officials which seriously undermines the fundamental fairness of the electoral

process. Marks v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994); Griffin, 570 F.2d at

1077-78. “[H]aving once granted the right to vote on equal terms, the State may not,
                                        - 79 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 80 of 86




by later arbitrary and disparate treatment, value one person’s vote over that of

another.” Bush, 531 U.S. at 104-05.

      227. The United States Constitution entrusts state legislatures to set the time,

place, and manner of congressional elections and to determine how the state chooses

electors for the presidency. See U.S. Const. Art. I, § 4, cl. 1 & Art. II, § 1, cl. 2.

      228. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House of

Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522; Patterson,

60 Pa. at 75.

      229. Defendants, as a member of the Governor’s Executive Board and

county executive agencies, are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to “tak[ing] care that the

laws be faithfully executed.” Pa. Const. Art. IV, § 2.

      230. Although the Pennsylvania General Assembly may enact laws

governing the conduct of elections, “no legislative enactment may contravene the

requirements of the Pennsylvania or United States Constitutions.” Shankey, 257 A.

2d at 898.

      231. According to the Pennsylvania Supreme Court, “although the Election

Code provides the procedures for casting and counting a vote by mail, it does not

provide for the ‘notice and opportunity to cure’ procedure[.]” Pa. Democratic Party,

                                          - 80 -
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 81 of 86




2020 Pa. LEXIS 4872, at *56. Moreover, “[t]o the extent that a voter is at risk for

having his or her ballot rejected due to minor errors made in contravention of those

requirements, … the decision to provide a ‘notice and opportunity to cure’ procedure

to alleviate that risk is one best suited for the Legislature[,] . . . particularly in light

of the open policy questions attendant to that decision, including what the precise

contours of the procedure would be, how the concomitant burdens would be

addressed, and how the procedure would impact the confidentiality and counting of

ballots, all of which are best left to the legislative branch of Pennsylvania's

government.” Id.

       232. Defendants are not the legislature, and their unilateral decision to create

and implement a cure procedure for some but not all absentee and mail-in voters in

this Commonwealth violates the Due Process Clause of the United States

Constitution.

       233. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                      COUNT VII

                        U.S. Const. Art. I, §4, & Art. II, § 1
                   Violation of the Electors & Elections Clauses
       234. Plaintiffs incorporate each of the prior allegations in this complaint.

       235. The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for President.
                                           - 81 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 82 of 86




Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause of the U.S.

Constitution states that “[t]he Times, Places, and Manner of holding Elections for

Senators and Representatives, shall be prescribed in each State by the Legislature

thereof.” Art. I, § 4, cl. 1 (emphasis added).

      236. The Legislature is “‘the representative body which ma[kes] the laws of

the people.’” Smiley, 285 U.S. at 193.

      237. Regulations of congressional and presidential elections, thus, “must be

in accordance with the method which the state has prescribed for legislative

enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting

Comm’n, 135 S. Ct. 2652, 2668 (2015).

      238. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House of

Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522; Patterson,

60 Pa. at 75.

      239. Defendants, as a member of the Governor’s Executive Board and

county boards of elections, are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to “tak[ing] care that the

laws be faithfully executed.” Pa. Const. Art. IV, § 2.

      240. Because the United States Constitution reserves for the General

Assembly the power to set the time, place, and manner of holding elections for the

                                         - 82 -
        Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 83 of 86




President and Congress, county boards of elections and state executive officers have

no authority to unilaterally exercise that power, much less to hold them in ways that

conflict with existing legislation.

       241. According to the Pennsylvania Supreme Court, “although the Election

Code provides the procedures for casting and counting a vote by mail, it does not

provide for the ‘notice and opportunity to cure’ procedure[.]” Pa. Democratic Party,

2020 Pa. LEXIS 4872, at *56. Moreover, “[t]o the extent that a voter is at risk for

having his or her ballot rejected due to minor errors made in contravention of those

requirements, … the decision to provide a ‘notice and opportunity to cure’ procedure

to alleviate that risk is one best suited for the Legislature[,] . . . particularly in light

of the open policy questions attendant to that decision, including what the precise

contours of the procedure would be, how the concomitant burdens would be

addressed, and how the procedure would impact the confidentiality and counting of

ballots, all of which are best left to the legislative branch of Pennsylvania's

government.” Id.

       242. Defendants are not the legislature, and their unilateral decision to create

a cure procedure violates the Electors and Elections Clauses of the United States

Constitution.

       243. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                           - 83 -
       Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 84 of 86




      WHEREFORE, in addition to any other affirmative relief that the Court may

deem necessary and proper, Plaintiffs ask this Court to enter judgment in their favor

and provide the following alternative relief:

         i.   An order, declaration, and/or injunction that prohibits the
              Defendant County Boards of Elections and Defendant Secretary
              Boockvar from certifying the results of the 2020 General
              Election in Pennsylvania on a Commonwealth-wide basis;

       ii.    As an alternative to the first request for relief, an order,
              declaration, and/or injunction that prohibits Defendants from
              certifying the results of the General Elections which include the
              tabulation of absentee and mail-in ballots for which Plaintiffs’
              watchers were prevented from observing during the pre-canvass
              and canvass in the County Election Boards;

       iii.   In addition to the alternative requests for relief, an order,
              declaration, and/or injunction that prohibits Defendants from
              certifying the results of the General Elections which include the
              tabulation of absentee and mail-in ballots which Defendants
              improperly permitted to be cured;

       iv.    A temporary restraining order and preliminary injunction
              granting the above relief during the pendency of this action;

        v.    Plaintiffs’ reasonable costs and expenses of this action, including
              attorneys’ fees; and cost; and

       vi.    All other further relief to which Plaintiffs might be entitled.

Date: November 9, 2020                      Respectfully submitted,

                                           PORTER WRIGHT MORRIS &
                                           ARTHUR, LLP

                                      By: /s/ Ronald L. Hicks, Jr.
                                          Ronald L. Hicks, Jr. (PA #49520)
                                          Carolyn B. McGee (PA #208815)
                                          - 84 -
Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 85 of 86




                              Six PPG Place, Third Floor
                              Pittsburgh, PA 15222
                              (412) 235-4500 (Telephone)
                              (412) 235-4510 (Fax)
                              rhicks@porterwright.com
                              cmcgee@porterwright.com

                              and

                              /s/ Linda A. Kerns
                              Linda A. Kerns (PA #84495)
                              Law Offices of Linda A. Kerns, LLC
                              1420 Locust Street, Suite 200
                              Philadelphia, PA 19102
                              linda@lindakernslaw.com


                              Counsel for Plaintiffs




                            - 85 -
             Case 4:20-cv-02078-MWB Document 1 Filed 11/09/20 Page 86 of 86




                                       VERIFICATION

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that I have

reviewed the foregoing Complaint and that the factual allegations are true and

correct.



Date: November 9, 2020                             /s/ James Fitzpatrick
                                                   James Fitzpatrick, PA EDO Director
                                                   Donald J. Trump for President, Inc.




13863683v4
